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      EXHIBIT 22
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                           (Annual Financial Report for 2013) Qatar Charity




                                   [logo:]
                                Qatar Charity
                                Qatar Charity


                Qatar Charity’s
                Annual Financial
                Report for 2013

                                 Issue No.: 0
                                February 2014



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      Statement of the Chief Executive Officer

       …                                                     To the Esteemed / Chairman and Members of
                                                             the Board of Directors
     Qatar Charity

     Peace be upon you and Allah’s mercy and blessings…

     On behalf of myself and everyone who works at Qatar Charity, I am pleased to offer your sincere
     gratitude and appreciation for your support and guidance, which had the greatest impact, after the
     assistance of Almighty Allah, on raising the level of work at all directive, supervisory and executive
     levels as well as the level of the projects, programs, activities and services that Qatar Charity provides.
     This was abundantly clear in the Organization’s performance during 2013 and the results it achieved on
     both the local and international level, which led to raising its status, enhancing and achieving the
     aspirations of its members, and earning the trust of all those dealing with it, including government
     agencies in Qatar, particularly the Ministry of Social Affairs and the Qatari Ministry of Foreign Affairs,
     as well as donors, and local and international partners.
     Accordingly, we are pleased to submit to you the summary annual report on the Organization’s
     performance, as well as its financial statements and its business results for the fiscal year ended 31
     December 2013. We note that a committee has been formed to prepare the Organization's
     comprehensive annual report, and that it will be prepared in a professional manner and in a form
     befitting Qatar Charity.

     We have attempted to ensure that the report is brief, focused, and comprised of two main parts:

         1-    The part related to the performance of the Organization and its various departments.
         2-    The part related to the Organization’s financial statements and business results.

     These accomplishments would not have been achieved without success from Almighty Allah first and
     then determination and effort by all Qatar Charity employees, on both the local and international levels,
     whom we consider the essential element in supporting the wheel of progress and prosperity.

     In conclusion, I am pleased, on behalf of all Qatar Charity employees, to express our deepest gratitude
     and appreciation to His Highness Sheikh / Tamim bin Hamad bin Khalifa Al Thani, the Emir of Qatar
     - may Allah protect him. We also extend our most sincere gratitude and appreciation to His Excellency
     Mr. / Nasser bin Abdullah Al-Humaidi, the Minister of Labor and Social Affairs and to all employees
     at the Ministry of Social Affairs. In addition, Qatar Charity’s management appreciates all of the sincere
     efforts by the government agencies in the State of Qatar, which have helped and supported Qatar
     Charity, whose objectives prioritize achieving the Qatar National Vision 2030, and whose targeted
     purpose stipulates the implementation of development and humanitarian initiatives in order to achieve
     global security and provide aid. Moreover, we thank all executives, employees, collaborators and
     volunteers for their continuous and loyal efforts and giving to achieve the goals of Qatar Charity, their
     protection of its gains and interests, and for increasing its prestige and competitiveness. We ask
     Almighty Allah to bless these efforts, and look forward to Qatar Charity continuing to develop its
     performance and enhance its capabilities to support the social development system. We also ask
     Almighty Allah to make the 2014 fiscal year even better than the previous one.

                                                                              Yousef bin Ahmed Al-Kuwari
                                                                                Chief Executive Officer
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                          (Annual Financial Report for 2013) Qatar Charity




                                  [logo:]
                               Qatar Charity
                               Qatar Charity

                Qatar Charity in
                     Brief
                                   Origin and development
                                   Vision
                                   Message
                                   Logo
                                   Values
                                   Objectives
                                   Fields
                                   Strategy


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      Qatar Charity - A dream that has become a reality

     Qatar Charity: Qatar Charity is a non-governmental organization, founded in 1992 for the
     development of Qatari society and other needy communities. It works in the fields of sustainable
     development, reducing poverty, and disaster relief and emergency response. Qatar Charity endeavors
     to serve all needy people and communities regardless of their color, sex, religion, race or nationality. It
     has been in a consultative status with the United Nations Economic and Social Council since 1997. It
     is also a member of the General Founding Conference of the Arab Network for Non-Governmental
     Organizations in Cairo since 1999. Qatar Charity is considered one of the largest charitable
     organizations in the Gulf.

     Its Vision

     The model of a leading and distinguished Islamic institution that combines integrity, creativity and
     professionalism in the field of development and humanitarian aid.

     Its Message

     Support the capabilities of the neediest groups to achieve human dignity and social justice in
     cooperation with partners.

     Its Motto


                                                Change their lives

     Its Values

          Humanity  Non-discrimination  Impartiality  Independence  Professionalism 
                                           Cooperation
     Its Objectives

     According to its bylaws, the Organization works to achieve the following objectives and purposes:

         1. Effectively contributing to the human development of poor peoples through the following three
             areas: Education, health and income - with priority given to families, women and children.

         2. Contributing as a development agency in achieving social development according to the
             priorities specified by the international community, through its competent United Nations
             bodies, such as combating poverty, caring for children, and protecting families, etc., within the
             limits of the Organization’s capabilities.

         3. Prioritizing the achievement of sustainable and integrated development for the benefit of the
            targeted peoples in accordance with the requirements of the sectoral policies and development


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            priorities set by the governments of the countries concerned, within the limits of the
            Organization's capabilities, with a commitment to protecting and preserving the environment.
         4. Providing relief to the victims of natural disasters and armed conflicts.
         5. Prioritizing the impact and results of the programs, projects and activities accomplished by the
            Organization for the benefit of the targeted groups to ensure its contribution in improving the
            living conditions of these groups.
         6. Using the conditional and unconditional donations, sadaqa and Zakat as well as the various
            funding sources to highlight the model of Arab Islamic cooperation, which derives its values
            from the Muslim faith, which calls on the people of the world to get to know each other and
            cooperate for the good of all humanity and development of the Earth, honors mankind, and
            focuses on everything that materially and spiritually enhances this world and the Hereafter.

         7. Engaging in responsible, effective and transparent coordination, cooperation and partnerships
            with all governments, international organizations and other specialized institutions working in
            the field of social development in order to achieve the aforementioned objectives.

     Its Fields and Activities

         1) Sponsoring, housing, caring for, as well as financially, socially and culturally supporting
            orphans, particularly those who have lost their parents due to wars and disasters, from birth to
            the age of eighteen years, within the limits of the sponsorship, as well as establishing schools,
            mosques, and Quran memorization centers for this purpose whenever the need arises.

         2) Providing aid and health care to the families of orphans and widows who have lost their
            breadwinner and kin, particularly those affected by drought, famine, natural disasters and wars,
            as well as helping needy families that support orphans.

         3) Establishing charitable projects by building schools, educational facilities and cultural
            institutes, fulfilling their needs, constructing mosques, digging wells, and implementing water
            projects in the various countries of the world to help needy Muslims and others, as a way of
            translating the wishes of the honorable benefactors and fulfilling their requirements.

         4) Caring for the human and productive development of the needy affected by disasters, wars and
            famines, providing them with relief and assistance in Muslim countries and others, working on
            the development of civil society, and enabling it to be self-reliant.

         5) Activating knowledge, developing needy societies in Muslim countries and others within the
             framework of the comprehensive civilizational revival Islam project through religious
             education and awareness, focusing on teaching the Arabic language as well as the recitation
             and memorization of the Qur’an, setting up special centers for that, sponsoring preachers,
             teachers, and memorization instructors, and utilizing scientific knowledge to improve and
             develop the social reality.
         6) Cooperating and coordinating with voluntary charitable organizations and institutions,
             international and regional institutions, and the United Nations organizations that seek to achieve



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             similar goals, benefiting from their programs to acquire new experiences and skills, and training
             their workers in relief work to confront disasters and mitigate their harms.

      Qatar Charity’s Strategic Objectives
     Through its work, Qatar Charity works to achieve the following strategic objectives:

         1. Contribute to achieving the national strategic objectives of the development sectors wherein
            Qatar Charity works.

         2. Enhance Qatar Charity’s role in the countries wherein it works as an effective development
            partner, and build strong relationships with the various actors so the Organization can derive
            the requisite support therefrom to serve its general objectives.

         3. Develop the work in a set of integrated priority strategic areas, because the Organization has
            considerable advantages in the places where it operates locally and abroad.

         4. Develop creative solutions in the development and humanitarian fields, and produce the best
            practices in their fields in order to raise Qatar Charity’s profile as a specialized organization.

      Qatar Charity’s General Objectives
     To achieve its strategic objectives, Qatar Charity seeks to achieve the following general objectives:

         1. Be aware of international and local development issues, and actively participate in national
            consultations related to Qatar Charity's fields of work.

         2. Study local and foreign development and humanitarian needs, and prepare proposals for
            intervention projects to contribute to meeting the development needs in the targeted areas.

         3. Implement development and humanitarian programs and projects in accordance with the
            highest recognized professional standards.

         4. Strengthen cooperation and partnership relationships with the various stakeholders in the
            various initiatives, programs and projects that the Organization implements or to whose
            implementation it contributes.

         5. Strengthen public relations efforts to improve the image of Qatar Charity and serve its
            objectives.

         6. Mobilize the financial and technical resources at the local and international levels to serve Qatar
            Charity's programs and projects locally and abroad.




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                                  [logo:]
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                               Qatar Charity



           Summary
       Management Report
         Qatar Charity's Harvest for 2013




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      The Most Important Accomplishments During 2013
        1. Revenues from donations grew by 11% in 2013 as compared to 2012. Indeed, they totaled QAR
            645 million in 2013 as compared to QAR 581 million in 2012.

        2. Payments for projects and sponsorships grew by 11% in 2013 as compared to 2012. Indeed,
            they totaled QAR 526 million in 2013 as compared to QAR 474.6 million in 2012.

        3. Administrative expenses decreased by 2% in 2013 as compared to 2012. Indeed, they totaled
            QAR 37.7 million in 2013 as compared to QAR 38.6 million in 2012. This was a result of the
            policy of allocating operating expenses to the activities and projects in application of the cost
            accounting system in the allocation of direct costs.

        4. The Qatarization rate grew by 26% in 2013 as compared to 2012.

        5. Several regulations, policies and organizational guides related to the Organization and its field
            offices were issued.

        6. The number of sponsees grew to 62,416 worldwide, a 9% increase as compared to 2012 wherein
            the number of sponsees was 57,199.


        Continuous growth




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     di Continuous development

     1 - Human Resources:

     The human element is one of the most important pillars at Qatar Charity. Indeed, the human element is
     the real pillar on which modern systems and real management are based to achieve their goals. Thus,
     the task of human resources management has become to recruit distinguished human elements and work
     to develop these elements through continuous training to create technical and administrative executives
     according to international standards through a work environment and competitive advantages in keeping
     with Qatar Charity’s strategy. Accordingly, we focused on the following in 2013:
            Improving the efficiency of employees through continuous training programs.
            Seeking the assistance of competent Qatari personnel, attracting the largest number of qualified
             professionals in all fields, and placing them in upper and middle management as a first phase
             within the framework of restructuring the Organization. Indeed, by the end of 2013 there were
             44 Qatari employees, a 26% increase over 2012 where there were 35 Qatari employees.




                129                                 156                                                                              193
                                                                                           186




                276                                 303                                    311                                       351




                 29                                  36                                    35                                        44


             2010                               2011                                      2012                                 2013
                      •   Number of Qatari      •    Number of employees - Headquarters          •   Number of employees - Offices




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            Introducing amendments to the human resource regulations, which aim to continue, develop
             and enhance the appropriate work environment that helps motivate employees, improve and
             increase productive efficiency, and open the path to more creativity. Qatar Charity continued
             to focus on Qatarization as a national strategy, and to find a highly qualified, trained, competent
             and effective Qatari workforce.
     2 - Financial and Administrative Systems and Policies

     1. Developing, preparing and implementing financial and administrative policies and internal
         oversight systems in all of Qatar Charity’s sectors. This was done through the Financial System
         Examination and Development Committee, which had, as of 31 December, finalized and approved
         the following policies:
            The policy for selecting and appointing the auditor.

            The policy for inventorying the assets, inventory and treasury.

            The policy for fixed assets and property protection.

            The guide for preparing the draft projected budget.

            The work calendar regulations.

     The Committee’s work is underway to develop the rest of the financial and administrative policies,
     which coincides with the significant development in the Organization’s activity to ensure achievement
     of internal oversight.

     2. Developing, preparing and implementing financial and administrative policies and internal
         oversight systems for Qatar Charity’s field offices. As of 31 December, following policies had been
         prepared:
            The procurement guide for field offices.
            The human resource regulations.

            The sanctions regulations.

            The job rotation regulations.

            Preparation of the organizational structure.

            Preparation of the salary and wage schedule (salary scale).

            The vacation policy.

            The vehicle operation policy.

            The residential apartment leasing policy.




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     Work is underway to develop the rest of the financial and administrative policies, which coincides with
     the significant development in the field office’s activity to ensure achievement of internal oversight.

     3. Developing plans, strategies and development systems for financial management at the level of the
         headquarters and the field offices, using the existing competencies at the Organization, and
         developing collection systems to become electronic systems with the help of the specialized
         departments.

     4. Developing controls to activate the role of internal oversight, and protecting the Organization’s
         funds.

     5. Activating the role of the General Services Department so all procurement occurs in accordance
         with the internal controls.

     6. Insuring all of the Organizations assets, including buildings, vehicles, warehouses and collectors.
         All fixed boxes located at Islamic companies are also being insured under the Murabaha system.

     7. Activating the role of communication between the Organization's departments in a manner that
         ensures improved performance.

     8. Conducting a periodic evaluation of the performance level of the Organization as well as local and
         field offices, and attempting to improve it in a manner that reflects on the Organization’s
         performance as a whole.
     9. Rationing spending in a manner that allows the volume of donations to be proportional to the
         operational and administrative expenses.

     3 - Resource Development:

     Qatar Charity paid close attention to the process of collection and marketing, which are the main tools
     for attracting resources to the Organization. As a result, work was done on more than one level in this
     regard, as follows:
     1. Attracting major philanthropists, donors and businessmen in Qatar and communicating with them
         directly.
     2. Enhancing the confidence of government agencies in working with Qatar Charity.
     3. Increasing the Organization’s collection branches. Indeed, by the end of 2013, it had 12 collection
         branches and 55 collection point locations throughout the country, for a total of 67 outlets. New
         outlets and branches are being opened this year.
     4. Launching electronic collection on automated coupon machines and collecting funds via the
         Internet and via SMS.



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     5. Instituting new mechanisms to attract Zakat resources. Indeed, marketing plans were developed and
        relationships with major companies and philanthropists were strengthened.
     6. Diversifying advertising methods in 2013 campaigns, such as the anthropomorphic exhibition of
        the Pain and Hope campaign, which embodies the suffering of the Syrian people.

      Sector Reports and Geographical Analysis of the Projects
     First: The Organization’s project and activity fields

            Social field

            Advocacy field

            Emergency relief field

            Family development field

            Educational field

            Sustainable development field

            Health field

            Child and youth care field

                  Main field                                        Payments
                                                   2011                2012                 2013
                  Social field                   90,711,840        134,785,882           151,368,850
                Advocacy field                   47,476,997        122,598,348           129,688,286
                 Relief fields                   30,335,583         98,882,205           64,493,501
                Seasonal fields                  24,206,726         26,728,599           32,955,358
          Family development field               2,705,550           8,605,250           31,136,377
               Educational field                 1,522,767           2,969,095           21,171,193
             Village and complex
                                                 44,178,558          2,452,560           17,538,726
              reconstruction field
          Water and sanitation field             2,361,222          11,979,331           16,104,056
                 Health field                    9,075,991          17,814,239           10,624,546
          Other miscellaneous fields             4,802,841           3,958,357            2,421,131
                     Total                      257,378,076        430,773,866           477,502,025




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     Second: Geographic regions and countries wherein the Organization’s activities are
     concentrated

         Local Level (inside Qatar)

     Based upon the strategic plan for local development at Qatar Charity, and its three social, economic and
     cultural pillars, which are compatible with Qatar Vision 2030, and out of the belief in the importance
     of helping to find programs that serve different segments of society, work has been done to ensure the
     selection of programs and activities to be implemented in keeping with the national vision to address
     five challenges:
         1. The modernization and preservation of customs and traditions.
         2. The needs of the current generation and the needs of future generations.
         3. Targeted growth.
         4. The path of development in Qatar.
         5. Economic and social development as well as environmental protection and development.
     Accordingly, there was significant expansion in the programs and activities within Qatar. Indeed,
     cultural and educational projects were implemented, including (the National Program for Strengthening
     Values (I am Snafi Wahba Rih) - the (Adamha for the Development of Productive Families) program -
     the Zawaj [Marriage] Program - the (Taqat) program for the training and employment of people with
     special needs - the (Tahiya Lil-Omal [Greetings to Workers]) program with Msheireb Real Estate - the
     Musafir Ma’a Al-Quran Al-Kareem [Traveling with the Noble Quran] project - the project for
     cooperation with communities within Qatar - the Ramadan radio program (Tawareeh) - the Ramadan
     public program (Al-Baraha) - the (Khuthu Zeinatakom [Take Your Adornment]) program - the Future
     Leaders Program for Qatar Orphans - the Community Development Centers programs - the seasonable
     programs during the blessed month of Ramadan, Eid Ul-Fitr and Eid Ul-Adha).

     This year, Qatar entered the second phase of the "Challenge for Life" project in cooperation with Barwa
     Bank in order to enhance the role of community participation through the Qatari team's climb to the
     Aconcagua summit in Argentina so as to draw attention to the suffering of Yemeni children, and to
     work on promoting and supporting open-heart surgeries for Yemeni children with heart conditions.
     Subsequent phases of this campaign will including climbing to the submit of Denali in Alaska and
     Everest in Nepal, etc. There are 7 community centers in Qatar, and these centers aim to entrench and
     strengthen values in Qatari youth and develop the different groups of society. This is in addition to the
     expansion plan, which seeks to increase the centers to 9 by the end of 2014, Almighty Allah willing, so
     our centers are distributed throughout Qatar.




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                 2010                     2011                    2012                     2013
               5 centers                5 centers                6 centers               7 centers


         International Level

     The Organization also focused on local work within Qatar. However, it did pay significant attention to
     work abroad due to the suffering, poverty and wars being experienced by the Arab and Islamic world,
     working in over 43 countries and giving special priority to countries wherein Qatar Charity has field
     offices. Indeed, by the end of 2013, Qatar Charity had 18 field offices around the world for several
     reasons more important of which are:

         1. Strengthening the capabilities of Qatar Charity’s field offices.

         2. Receiving carefully thought out project proposals.

         3. Following up on projects with precision.

         4. Controlling the specifications of implemented projects.

         5. The ability to mobilize local resources.

     As for countries in which the Organization has no offices, focus was placed on social projects, with the
     exception of Western Europe and Canada, given the nature of the projects that Qatar Charity has been
     implementing in these countries, which mainly pertain to Islamic cultural centers, as well as countries
     with which there were previous dealings when these dealings did not result in implementation problems.

     Below is a financial analysis of the remittances:

     1. The outgoing remittances by country




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                                                                                                               Millions
                                                                                                         60

                                                                                                         50




                                                      1
                                               ............
                                                                                                         40

                                                                                                         30

                                                                                                         20

                                                                                                         10

                                                                                                         0




           United Kingdom
             United States
             Republic of




           Luxembourg
             Philippines




          Burkina Faso
            Kyrgyzstan




           Mauritania
             Maldives




            Sri Lanka




         Bangladesh
             Ukraine




            Comoros




          Myanmar
            Hungary




           Morocco
            Ethiopia
            Norway




           Germany
            Senegal
             Kuwait




         Indonesia
           Lebanon
             France




            Ireland




           Kosovo




           Albania
             Africa

            Kenya
             Brazil




         Palestine
          Pakistan
             Benin




         Somalia
          Canada
           Jordan




           Bosnia




          Tunisia
            Togo




            Spain




           Ghana




         Yemen
           India




         Sudan
          Niger
          Mali




         Syria
          Iraq




         Italy
         The list of countries encompassed in the plan for 2014 includes
                                                                             the following:

             List of African         List of Arab countries         List of Asian       List of countries in
                countries                                             countries           Europe and the
                                                                                              Americas
         1. Senegal               1. Palestine (West Bank + 1. Indonesia              1. Albania
         2. Mali                     Gaza Strip)            2. Pakistan               2. Kosovo
         3. Niger                 2. Yemen                  3. Bangladesh             3. Bosnia
         4. Burkina Faso          3. Sudan                       4. India             4. Turkey
         5. Benin                 4. Mauritania                  5. Sri Lanka         5. Spain
         6. Togo                 5. Morocco                     6. Myanmar            6. Italy
         7. Ghana                6. Tunisia                     7. Kyrgyzstan         7. France
         8. Nigeria              7. Jordan                      8. Iran               8. Germany
         9. Chad                 8. Lebanon                                           9. Britain
         10. Kenya               9. Iraq                                              10. Belgium
                                 10. Somalia                                         11. Luxembourg
                                 11. Comoros                                         12. Switzerland
                                 12. Lebanon                                         13. Canada

          Qatar Charity was focused on expanding field offices. Indeed
                                                                        , this year the Organization opened
           two offices in (Tunisia - London) and expansion is underway to
                                                                           open an office in Turkey in order


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         to enhance the Organization’s ability to provide its services to countries that need aid and enhance
         the role of development in society.

        Qatar Charity also opened new horizons to spread the Islamic faith by building Islamic centers in
         European countries (Italy - Spain - Switzerland - Germany - France - Canada - Norway - Poland -
         Ireland - Luxembourg). Indeed, during 2013 it transferred approximately QAR 54 million for these
         projects.

        The Organization launched a unique humanitarian initiative under the name (Rufaqa [Companions])
         focused on the issue of orphans worldwide by preparing and managing programs and channels that
         contribute to solving their problems. This initiative was sponsored by Sheikh Aaidh Al-Qarni.

        In light of Qatar Charity’s excellent reputation worldwide in the field of humanitarian and Islamic
         development, many local and international organizations and agencies, local and international
         ministries, companies and individuals placed their trust in it by tasking it with completing many
         projects around the world. This is due to Qatar Charity’s experience and expertise through its offices
         around the world as well as its executive partners. This included for example:
         1-    The Qatari Ministry of Foreign Affairs tasked it with implementing development projects in
               the Darfur Region in the Republic of Sudan for a sum of QAR 22.6 million, as well as Tunisia
               reconstruction projects for a sum of QAR 50 million.
         2-    The Islamic Development Bank - Jeddah tasked it with implementing Gaza reconstruction
               projects for a sum of QAR 43 million, as well as projects for the Syrian people.
         3-    The global Bill Gates Foundation tasked it with implementing projects in the health field for
               a sum of QAR 11 million.
         4-    Muslim Aid Australia Organization tasked it with implementing development projects in
               Somalia for a sum of QAR 3.65 million.




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             5-    The Qatar Foundation in cooperation with the ROTA Organization tasked it with
                   implementing education projects in Ramallah - Palestine for a sum of QAR 3 million.
            Qatar Charity also focused on all types of sponsorships worldwide. Indeed, by the end of 2013 it
             had 62,416 sponsees worldwide, a 9% increase from 2012 when it had 57,199 sponsees. Below
             are statistics comparing three years, classified by number of sponsorships and countries:

                      Years                  2011                     2012                    2013


             Number of
                                            40,333                   57,199                  62,416
             sponsorships
             Number of countries               32                      34                      34


      The Organization has a distinguished presence and active participation
            Events

            Campaigns

     Qatar Charity carried out many campaigns during 2013. One of the most important of these campaigns
     was the (Pain and Hope) relief campaign for the Syrian people, which actually embodied, albeit in a
     small way, the suffering of the Syrian people, and which achieved a great impact by positively
     contributing to the volume of aid that has been provided to the Syrian people and that will be provided
     to them based upon the plan approved for 2014.

                                                       Aid provided to Syrian people
              Description
                                           2011                     2012                   2013
         Syria relief                   1,797,500               48,970,833              36,998,647

             Local and international partnerships

     Given the great reputation that Qatar Charity has worldwide in the field of humanitarian and Islamic
     development, out of a belief in cooperation with international agencies, and to enhance confidence in
     the Organization’s image, Qatar Charity focused on strengthening relationships and open channels of
     communication with many local and international partners, the most important of which were the
     following:

                                                    Entity’s Name
         1. Ministry of Labor and Social Affairs           2. Hamad Medical Corporation
         3. Ministry of Interior                           4. Vodafone Telecom Company
         5. Ministry of Endowments and Islamic
                                                           6. Ooredoo Telecom Company
              Affairs


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                                                    8. Qatar Foundation for Combating Human
      7. Ministry of Environment
                                                       Trafficking
      9. Ministry of Communications                 10. Qatar Foundation for Shelter
      11. Olympic Sports Committee                  12. Childhood Cultural Center
      13. Social Development Center                 14. Shafallah Center
      15. Qatar Foundation for Education, Science
                                                    16. Owain Center
      and Community Development
                                                    18. United    Nations      Children's   Fund
      17. Qatar University
                                                    (UNICEF)
      19. Qatar Society For Rehabilitation of
                                                    20. Barwa Bank
      Special Needs
      21. Qatar Career Fair                         22. Al Emadi Enterprises
      23. Qatar Cancer Society

      Milestones in the Organization's journey of development and growth




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                                  [logo:]
                               Qatar Charity
                               Qatar Charity



       Financial statements
        Qatar Charity’s Annual Financial
                Report for 2013




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      Financial Summary for 2013

     Reports and financial statements are issued at the end of the fiscal year. The most important of these
     reports and statements are the following:

          Data about the financial position

          Annual comparison report for the Organization’s actual revenues and expenses during the year
             as compared to the the previous two years, as well as a comparison for each activity separately.

                Comments on important items (analysis, description, explanation, comparisons, and
                 illustrations).

                Analyses, comparisons, and illustrations.

     First: Data about the Organization’s financial position:

            The financial statements were prepared in accordance with the International Financial
             Reporting Standards and audited by the (Grant Thornton - Aleid & Co.) office. The auditor's
             report revealed that the Organization maintains regular accounting records consistent with the
             financial statements, and the auditor’s report was issued without any reservations.

     Below are comments about the Organization’s financial position:

             Total assets:

                   Year                          Amount in QAR                       Growth rate
                   2013                           970,731,911                              22%
                   2012                           798,573,831                              8%
                   2011                           741,150,986




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            The preceding analysis reveals that total assets increased by 21% from 2012 to 2013 and by 8%
             from 2011 to 2012.

     Assets consist of the following items:

     (Property, machinery and equipment - real estate investments - available-for-sale investments - held-
     for-trading investments - investments in subsidiaries - cash and cash equivalents - inventory - cash in
     offices abroad - notes receivable - other debit balances).

     Accordingly, an analysis of assets reveals the following:

     1- Property, machinery and equipment:

                 Year                           Amount in QAR                          Growth rate
                 2013                               74,777,390                             471%
                 2012                               13,099,229                              -2%
                 2011                               13,379,592



                                                                                   74,777,390




                 13,379,592                       13,099,229


                  2011                              2012                                2013


            Property, machinery and equipment increased to QAR 74,777,390 in one year, a 471% increase,
             as a result of appraisal this year of the land on which the Organization’s building is erected, and
             its recognition in the ledgers at fair value.


     2- Investments
     2/1 Real estate investments:

                 Year                           Amount in QAR                           Growth rate
                 2013                             524,406,421                                8%
                 2012                             483,425,173                                4%

                 2011                             465,666,571


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                                                                                 524,406,421



                                              483,425,173

                465,666,571




                 2011                            2012                                 2013


            During 2013, the Organization changed its accounting policy as regards the subsequent
             measurement of real estate investments from the cost method to the fair value method, in
             application of International Accounting Standard No. (40).
            The change was made retroactively by adjusting the comparative balances and recognizing the
             cumulative gain in fair value in the accumulated savings. The fair value was determined based
             upon an appraisal conducted by an independent external appraiser.
     2/1/1   The rate of return on real estate investments:

                                  Investment revenues
                                                                                 Total          Rate of
        Year        Investment        Revaluation
                                                               Total          investments       return
                     revenues           profits
        2013        41,156,718         41,178,000           82,334,718        524,406,421        16%
        2012        40,297,186         18,000,000           58,297,186        483,425,173        12%
        2011        38,527,917        123,420,004           161,947,921       465,666,571        35%




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                                                                           25%


            2011
            2012
            2013

                                 56%
                                            C:                               19%



            In 2013, the returns on real estate investments totaled QAR 82,334,718 or 16%.


     2/2 Available-for-sale investments:



                   Year                       Amount in QAR                         Growth rate
                   2013                          39,452,408                             21%

                   2012                          32,679,498                              -1%

                   2011                          33,041,627



                                                                                     39,452,408

              33,041,627                         32,679,498




                   2011                           2012                                2013



            Available-for-sale investments at the Organization increased as a result of the Organization’s
             USD 2 million investment in developing the fisheries sector in the Comoros and the return of a
             portion of the airline fund investments, thus leading to a 21% increase in available-for-sale
             investments.



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     2/2/1      The rate of return on available-for-sale investments:
                 Year                   Revenues             Total investments           Rate of return
                  2013                    1,724,053                39,452,408                 4.4%
                  2012                    1,598,530                32,679,498                 4.9%
                  2011                    1,241,356                33,041,627                 3.8%



                                   29%                                           33%



         2013
         2012
         2011




                         38%


               The rate of return on these investments is low as compared to investments in stocks listed on
                the stock exchange, and there has been no significant variation in the revenues received from
                these investments during the last three years.

     2/3 Investments in listed stocks:

                    Year                          Amount in QAR                        Growth rate
                   2013                               65,587,569                           60%

                   2012                               40,905,804                           17%

                   2011                               35,054,224




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                                                                                          65,587,569




                                                       40,905,804
                   35,054,224




                     2011                                 2012                               2013


                The main reason for the increase in listed investments is the Investment Committee’s decision
                 to increase the cash in the portfolio by QAR 20 million based upon the plan approved by the
                 Committee. The actual increase in the portfolio over the previous year, which resulted from
                 trading activities, was QAR 4.7 million. Investments classified as “for trading” are revalued
                 after initial recognition at fair value, and any unrealized gains or losses during revaluation at
                 fair value are recognized in the statement of surplus or deficit.

      2/3/1      Rate of return on investments in listed stocks

                                        Investment revenues
                                                                                        Total           Rate of
          Year          Investment           Revaluation
                                                                     Total           investments        return
                         revenues              profits
          2013           2,093,910            2,679,769             4,773,679        65,587,569           7%
          2012           1,785,285            1,446,855             3,232,140        40,905,804           8%
          2011           1,477,236            2,713,459             4,190,695        35,054,224          12%



                                                                                            27%
                                       44%


          2013

          2012

      •   2011



                                                                                           29%

         The return on investments in listed stocks totaled QAR 4,773.679, a rate of growth of 7%.
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      2/4 Investments in subsidiaries:


                        Year                     Amount in QAR                       Growth rate
                        2013                          200,000                             0%
                        2012                          200,000                            -50%
                        2011                          400,000



                   400,000




                                                   200,000                          200,000


                                                                       0




                  2011                            2012                               2013


     The Organization invested capital in the amount of QAR 200,000 in each of the following companies:
      (Mawarid Real Estate Investments - Qitaf Agricultural Development). This reduction is due to closure
      of the Qitaf Agricultural Development Company.
      3- Cash and cash equivalents:
               Year                           Amount in QAR                         Growth rate
                 2013                           171,976,114                             1%
                 2012                           170,394,884                             31%
                 2011                           130,321,436



                                                  170,394,884                     171,976,114

                130,321,436




                  2011                             2012                              2013


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          There was a slight 1% decrease in cash and cash equivalents as compared to the previous year
           despite a growth in revenues as compared to the previous year. This was the result of the transfer
           of large sums to field offices and partners during the year. This was abundantly clear in the cash
           balances of the field offices abroad.
        4- Inventory

                    Year                          Amount in QAR                            Growth rate
                    2013                              2,443,519                                 -39%
                    2012                              3,997,180                                 33%
                    2011                              3,013,851




   I
                                                     3,997,180

                    3,013,851

                                ill                                                      2,443,519




                     2011                              2012                                    2013


               There was a -39% decrease in strategic inventory as a result of distributing the entire inventory
                of canned meat and a large portion of the inventory of relief supplies to several countries such
                as the Philippines and Syria.

        5- Balances at field offices:
        It represents the book balance of Qatar Charity’s field offices abroad.
                    Year                           Amount in QAR                               Growth rate
                    2013                               59,511,034                                    96%
                    2012                               30,426,438



                                                                                  59,511,034




                            30,426,438




                                2012                                                2013



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           There was a tangible increase in the balances of field offices abroad as a result of opening the
            Yemen and Tunisia offices, which comprise a significant part of this increase.




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      6- Other debit balances:

                  Year                           Amount in QAR                         Growth rate
                  2013                                29,342,228                           35%
                  2012                                21,728,091                           10%
                  2011                                19,670,174


                                                                                     29,342,228

                                                      21,728,091




                                                                                                     I
                19,670,174




                   2011                                2012                              2013

    There was a relative increase in other debit balances. Indeed, they increased by 35% over the previous
      year. The factor influencing this increase was the increase in revenues owed by local partners, chief
      among them Ooredoo Telecom, which owed the Organization over QAR 9 million.
              Total liabilities:

                   Year                            Amount in QAR                       Growth rate
                   2013                               970,731,911                          22%
                   2012                               798,573,831                           8%
                   2011                               741,150,986


     From the preceding analysis it is clear that total liabilities increased by 21% from 2012 to 2013 and 8%
      from 2011 to 2012.

      Assets [sic] consist of the following items:

      (Capital employed - non-current liabilities - current liabilities)

      1 - Capital employed:
                  Year                               Amount in QAR                        Growth rate
                  2013                                414,458,399                             32%
                  2012                                315,174,639                             -2%
                  2011                                320,235,696



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                                                                                     414,458,399


                 320,235,696                         315,174,639




      I             2011                               2012                            2013

            There was a 32% increase in capital employed as compared to the previous year as a result of
             the change in the accounting treatment of real estate investments mentioned in the real estate
             investment analysis.
      2 - Non-current liabilities:

                 Year                           Amount in QAR                           Growth rate
                 2013                             191,293,635                               40%
                 2012                             137,109,157                                -8%
                 2011                             148,524,641




                                                                                     191,293,635

              148,524,641
                                                     137,109,157


                                                                                                      I
                  2011                              2012                              2013


     There was a 40% increase in non-current liabilities as compared to the previous year as a result of
       recording the headquarters’ land at fair value as mentioned in the property, machinery and equipment
       analysis.




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     3 - Current liabilities:

                 Year                              Amount in QAR                            Growth rate
                 2013                               364,979,877                                  5%
                 2012                               346,748,212                                  27%
                 2011                               272,390,649


                                                    346,748,212                          364,979,877
                 272,390,649




                2011                                2012                                 2013

             There was a 5% increase in current liabilities as compared to the previous year as a result of the
              incremental change in the net movement in net obligations for specific purposes.

     i_  Related financial ratios:

     1. Available liquidity ratio

             Year                 Current assets                   Current liabilities           Growth rate
             2013                  331,895,691                        364,979,877                      0.91
             2012                  269,628,107                        346,748,212                      0.78
             2011                  228,663,195                         272390649                       0.84



                                                                                          0.91


                    0.84

                                                       0.78


                 2011                                  2012                               2013


    The liquidity ratio decreased in 2013. Indeed, the trading ratio was 91%, a ratio of (0.91:1), compared
     to previous years. Moreover, total current assets totaled QAR 331,895,691, while the total current
     liabilities totaled QAR 364,979,877. This is a natural reduction given that current liabilities include the
     installments of Al-Sadd Building, which are paid from the rent amount, and that available-for-sale
     investments were not listed in the formula and provide an opportunity to fulfill the Organization's
     obligations in any event.


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     2. Debt percentage

                                                                                          Percentage
            Year                  Liabilities                 Capital employed
                                                                                            change
            2013                  556,273,512                   414,458,399                 134%
            2012                  483,857,369                   315,174,639                 154%
            2011                  420,915,290                   320,235,696                 131%




                                                       154%




                                                                                       134%
                   131%




                   2011                               2012                             2013

             The Organization’s debt is relatively high, as the debt percentage was 134% in 2013, down by
              20% from the previous year.


     Second: Report comparing the Organization’s revenues and expenses:

                                                                                     2013 percentage
          Description             2011               2012              2013            change from
                                                                                      2011      2012
       Donations          350,083,373           581,794,068       645,531,012       84%       11%
       Projects,
       sponsorship
                          299,658,333           474,688,264       526,359,451       76%         11%
       and operating
       payments
       Administrative
                          32,402,051            38,633,644        37,708,936        16%         -2%
       expenses
       Total
       payments
                          332,060,384           513,321,908       564,068,387       70%         10%
       excluding
       depreciation
     r-Net liabilities    18,022,989            68,472,160        81,462,625        352%        19%




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         700,000,000
         600,000,000
         500,000,000                                                                                • 2011
         400,000,000
                                                                                                    • 2012
       300,000,000
       200,000,000                                                                                  • 2013
       100,000,000
                 0
                                                                           IIIMMIII. /
                            Donations          Activity expenses          Administrative

       The preceding table indicates that:

              Donations grew by 11% from 2012 to 2013 and 84% as compared to 2011, which was an
               unprecedented rate over the course of Qatar Charity’s lifetime. Indeed, they totaled QAR 645
               million in 2013 as compared to QAR 581 million in 2012. As for payments for projects and
               sponsorships, they totaled QAR 526 million [in 2013] as compared to QAR 474.6 million in
               2012, an 11% increase [over 2012] and a 76% increase over 2011.

           With respect to administrative expenses, they increased by 19% from 2011 to 2012 and decreased
           by (-2%) from 2012 to 2013 as a result of the policy of allocating operating expenses to activities
           and projects, thus indicating adoption of the policy of following cost accounting when allocating
           direct costs.
           Detailed donation table:

                                                                               As a
                                                                                           2013 percentage
                                           Sums Collected                   percentage
No.      Activity                                                                            change from
                                                                              of total
                             2011              2012            2013             2013       2011      2012
      Charitable
 1                        58,583,223        86,726,525      146,054,869         23%         149%     68%
      projects
      Social and
 2    advocacy            92,059,302        112,968,527     125,731,856         19%         37%      11%
      sponsorships
 3    Relief projects     49,977,698        110,866,952     91,414,812          14%         83%      -18%
      Charitable
      projects -
 4                                 -         29,608,610     66,614,077          10%         100%    125%
      Government
      grants
      Charitable
 5    projects - Dr. /    23,816,805        82,343,860      59,999,014           9%        152%      -27%
      Al-Hammadi
      Endowment
 6    income              47,248,486        50,234,898      49,052,368           8%         4%        -2%
      (investments)

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  7     Zakat             30,650,085        40,020,869    40,001,523        6%        31%    -0.05%
        Meals for
  8     fasting            8,862,276        13,980,747    11,885,040        2%        34%    -15%
        individuals
        Needy families
  9                        5,018,814        11,512,095    11,441,837        2%       128%    -1%
        inside Qatar
        Sacrificial
 10                       10,394,637        10,691,243    10,187,438        2%       -2%     -5%
        animals
 11     Sadaqa             5,278,029         7,565,552     9,707,767        2%        84%    28%
        Charity
 12                                -         9,221,543     8,462,436        1%       100%    -8%
        spectrum
        Endowment
 13                        5,021,300         4,483,248     2,928,519       0.45%      -42%   -35%
        deductions
        Penances,
 14     vows, and          2,072,794         2,147,974     2,438,829       0.38%      18%    14%
        ‘aqiqah
        Hajj and
 15     Umrah                      -          391,800      2,156,488       0.33%     100%     450%
        projects
 16     Zakat Ul-Fitr      1,876,092         2,129,587     1,715,282       0.27%     -9%     -19%
        Cultural and
 17     educational         528,821           396,303      1,646,967       0.26%     211%     316%
        activities
        Religious
 18                        1,721,966         1,743,108     1,478,743       0.23%      -14%   -15%
        publications
        Medical
 19                        3,316,803         1,994,208     1,118,365       0.17%      -66%   -44%
        treatment
        Eid clothing
 20     and school          322,000               -        637,989         0.10%      98%    100%
        bags
        Quran
 21     memorization        49,685            854,485      512,324         0.08%     931%    -40%
        centers
        Clearing
 22                        3,284,558         1,911,933     344,468         0.05%     -90%    -82%
        shares - other
Total                     350,083,373       581,794,068   645,531,012      100%       84%    11%




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          100%
          90%     OM WM           M NM         M          II II • IMEN M II
          80%     0 • • i • M • • • II • NI NI NI II II 1 E •EN II                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2013
          70%     0 INN III II II 0 MEM IMENI III 0 III II IMEN II
          60%       MEM II II II III MIN MEN II • II II II NNE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          2012
          50%     0 II I II • M WI        I II MI III III III II MEM NNE                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2011
          40%     0 II MIMEO' MEN MMEN                        MEM MEM IN
          30%       IM       MEM NM 0 MiN NM                      0 MEM i
          20%     0 III 1 NI II IN••      NENE •NE EMMEN
          10%       II • . . II III II II II MEM NNE II II II II .
          0%
                                            families,



                                                                                 Charitable projects - government grants

                                                                                                                           Charitable projects - Dr. / Al-Hammadi




                                                                                                                                                                                                                                                                                                                                                                                                        Cultural and educational activities
                                            orphans,




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Eid clothing and school bags
                                                                                                                                                                                          Meals for fasting individuals




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Quran memorization centers
                                                                                                                                                                                                                          Needy families inside Qatar




                                                                                                                                                                                                                                                                                                                                 Penances, vows and 'aqiqah

                                                                                                                                                                                                                                                                                                                                                              Hajj and Umrah projects
                                                                                                                                                                                                                                                                                                          Endowment deductions




                                                                                                                                                                                                                                                                                                                                                                                                                                              Religious publications
                    Charitable projects


                                            Sponsorships for




                                                                                                                                                                                                                                                        Sacrificial animals




                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Medical treatment
                                                                                                                                                                                                                                                                                       Charity spectrum
                                                               Relief projects




                                                                                                                                                                                                                                                                                                                                                                                        Zakat Ul-Fitr
                                                                                                                                                                    Investments




                                                                                                                                                                                                                                                                              Sadaqa
                                                                                                                                                                                  Zakat




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Other
     1. Financial Analysis of Donations as a Percentage of the Total for 2013:
     From the preceding table, we find that the highest percentage consisted of the charitable projects item,
     which amounted to 23% of the total receipts in 2013, while the middle percentage consisted of the
     (relief - projects funded by Dr. Al-Hammadi - projects funded by international partners - investments)
     items, which amounted to 8%, 9%, 10%, 14%, respectively, and the lowest percentage consisted of the
     “other” item (clearing stocks - other) at 0.02%.



     2. Financial Analysis of the Growth Rate of Donations in 2013 as Compared to 2012:
     The Hajj and Umrah project is considered to have the highest growth rate, with a growth rate of 450%,
     followed by cultural and educational projects at 315% and projects funded by international partners at
     125%, with the lowest growth rate being that of social and advocacy sponsorships at 11%.

     We will shed some light in the analysis on some of the donations as follows:

           1-        Local International Partnerships:
     Given the great reputation that Qatar Charity has worldwide in the field of humanitarian and Islamic
     development, out of a belief in cooperation with international agencies, and to enhance confidence in
     the Organization’s image, a sum of QAR 66.6 million was received in 2013 as compared to QAR 29.6
     million in 2012, an increase of 125%.

         2 - Revenues from the Sale of In-Kind Donations:
          The in-kind donations project is considered one of the projects that has great resonance within
             Qatar in terms of receiving in-kind donations, which has greatly contributed to lifting the burden
             of families’ living expenses. Many families now await the monthly stipend provided at the
             Organization’s headquarters from one month to the next. This is in addition to the 5 permanent


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                 sale sites throughout Qatar. Moreover, there is an expansion plan for 2014 to increase the sites
                 and containers to 8 sites by the end of 2014.
                A comparison between 2013 and 2012 would not be fair because the sale revenues for 2012
                 were attributable to donations collected since 2011. Revenues were QAR 9 million in 2012 as
                 compared to QAR 8.9 million in 2013.
                 Below is the analysis of the project's revenues by sales outlet for the year 2013 after adding an
                 sum of QAR 485,412, consisting of gold and car sales allocated to the projects directly.


0,000
0,000
0,000
0,000
0,000
0,000
0,000
0
                 Industrial     Export      Industrial      Industrial    Mobile     Barwa       Shop -     Other in-
                market - 48th                market -      market - 2nd   charity    Expo       New 13th      kind
                   Street                    Sunbula          Street      market                 Street     donations
                                           Charity Expo

        Analytical table by point of sale:

                    Points of sale                        Revenue collected                  As a percentage of total

         Industrial market - 48th
                                                              2,972,022                                33%
         Street

         Export sales                                         1,654,507                                18%

         Industrial market - Sunbula
                                                              1,185,579                                13%
         Charity Expo

         Industrial market - 2nd
                                                              1,145,731                                13%
         Street

         Mobile charity market                                  794,721                                    9%

         Barwa Expo                                             458,533                                    5%

         Shop - New 13th Street                                 211,343                                    2%

         Other in-kind donations                                525,912                                    6%

          Total revenue from spectrum
                                                              8,948,348                               100%
                      sales




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       3 - Endowment Investment Returns

         No.                 Description                     2011                 2012                 2013
                        Real Estate and Stock
          1             Portfolio Investment               47,248,485        50,234,898              49,052,368
          -
                              Returns

       Qatar Charity manages the endowment funds in investment real estate and in a diversified investment
       portfolio through experts specialized in real estate investment as well as investments in listed or unlisted
       securities, which generate a return that contributes significantly to expanding the scope of aid and
       disbursement in various charitable areas, out of its belief in the application of the principle of financial
       continuity.


       Third: Payments:

       The volume of project, activity and sponsorship implementation increased by 58% from 2011 to 2012
       and by 11% from 2012 to 2013, thus enhancing the implementation of activities and projects, ensuring
       aid and sponsorships reach those who deserve them as soon as possible, and enhancing donors’ faith in
       Qatar Charity.

                                                                                   As a
                                                                                             2013      percentage
                                                Payments                        percentage
No.       Activity                                                                           change from
                                                                                  of total
                                 2011             2012              2013           2013        2011        2012
      Charitable
  1                          101,643,379      152,773,136      210,785,632      43%            107%      38%
      projects
      Social and
  2   advocacy               86,269,869       109,295,196      127,582,366      26%            48%       17%
      sponsorships

  3   Relief projects        30,335,583       98,882,205       64,493,501       13%            113%      -35%
      Needy families
  4                          6,460,935        20,740,531       17,614,934       4%             173%      -15%
      inside Qatar
      Meals for fasting
  5                          9,021,950        14,085,864       15,983,986       3%             77%       13%
      individuals

  6   Investments            17,973,747       17,425,708       13,882,999       3%             -23%      -20%
      Sacrificial
  7                          13,112,141       9,807,786        12,139,439       2%             -7%       24%
      animals
      Cultural and
  8   educational            3,448,848        5,169,147        10,675,860       2%             210%      107%
      activities

  9   Charity spectrum       0                7,467,515        4,036,047        1%             100%      -46%




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      Quran
10    memorization                             1,718,752                                                                          2,168,519                                                                         3,411,131                                                                                 1%                                                               98%                                      57%
      centers

11    Zakat Ul-Fitr                            2,072,635                                                                          2,353,216                                                                         2,897,758                                                                                 1%                                                               40%                                      23%

12    Medical treatment                        2,756,770                                                                          5,743,752                                                                         2,861,899                                                                                 1%                                                               4%                                       -50%
      Hajj and Umrah
13                                             0                                                                                  348,000                                                                           1,872,000                                                                                 0.38%                                                            100%                                     438%
      project

14    Other                                    329,950                                                                            288,001                                                                           1,419,955                                                                                 0.29%                                                            330%                                     393%

      Qurans and
15    religious                                10,896                                                                             1,277,883                                                                         1,088,060                                                                                 0.22%                              9886%                                                                  -15%
      publications

16    Sadaqa                                   196,368                                                                            239,382                                                                           577,253                                                                                   0.12%                              194%                                                                   141%
      Penances, vows,
17                                             0                                                                                  133,733                                                                           31,500                                                                                    0.01%                              100%                                                                   -76%
      and 'aqiqah

18    Eid clothing                             0                                                                                  0                                                                                 30,675                                                                                    0.01%                              100%                                                                   100%
      Operating
19                                             24,306,510                                                                         26,488,688                                                                        34,974,456                                                                                7.12%                                                            44%                                       32%
      expenses
        Total                                    299,658,333                                                                        474,688,264                                                                      526,359,451                                                                               100%                                                            76%                                       11%


        100%
        90%
        80%              111111111111111111
        70%
        60%              111111111111111111
        50%              111111111111111111
        40%                  11111111111111                                                                                                                                                                                                                                                                                                                                                                                     2013
        30%                                                                                                                                                                                                                                                                                                                                                                                                                     2012

        20%                  111111111111                                                                                                                                                                                                                                                                                                                                                                                       2011

        10%
        0%
                                                                                                                fasting




                                                                                                                                                                                                                                                                                                                                                 Penances, vows, and 'aqiqah
                                                                                                                                                                                                                    Quran memorization centers




                                                                                                                                                                                                                                                                                                                       religious
                                                                                                                                                                      Cultural and educational
                                               advocacy




                                                                                 Needy families inside Qatar




                                                                                                                                                                                                                                                                                     Hajj and Umrah project




                                                                                                                                                                                                                                                                                                                                                                                                   Operating expenses
                        Charitable projects




                                                                                                                                                Sacrificial animals




                                                                                                                                                                                                                                                                 Medical treatment
                                                                                                                                                                                                 Charity spectrum
                                                                                                                            for




                                                                                                                                                                                                                                                                                                                                  and
                                                               Relief projects
                                                         and




                                                                                                                                                                                                                                                 Zakat Ul-Fitr
                                               sponsorships




                                                                                                                                                                                                                                                                                                                                                                                    Eid clothing
                                                                                                                                                                                                                                                                                                                       publications
                                                                                                                                  Investments
                                                                                                                individuals




                                                                                                                                                                      activities




                                                                                                                                                                                                                                                                                                                       Qurans

                                                                                                                                                                                                                                                                                                                                        Sadaqa
                                               Social




                                                                                                                Meals




                                                                                                                                                                                                                                                                                                               Other




 1.   Financial Analysis of Donations as a Percentage of the Total for 2013:

      From the preceding table, we find that the highest percentage consisted of the charitable projects item,
      which amounted to 43% of the total payments in 2013, while the middle percentage consisted of the


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                                                                                                     (Annual Financial Report for 2013) Qa
                                                                                                                                           tar Charity
           social and advocacy sponsorships items, whic
                                                         h amounted to 26%. The lowest percentage
           the Eid clothing, penances and vows item                                                  consisted of
                                                    at 0.01%.
           2. Financial Analysis of the Percentage
                                                     Increase in Payments in 2013 as Compare
                                                                                                  d to 2012
           The highest percentage of payments consisted
                                                         of the Hajj and Umrah project, which amounte
           and the lowest percentage of payments cons                                                 d to 438%,
                                                      isted of penances, vows and ‘aqiqah, whic
           76%).                                                                                h amounted to (-

           Below is the financial analysis of the rem
                                                      ittances:
    2.     Outgoing remittances by country:


                                                                                                                                                                                                                                                                                                 60000000

                                                                                                                                                                                                                                                                                                 50000000

                                                                                                                                                                                                                                                                                                 40000000




                                                                                              ....... .........
                                                                                                          ..„,,,diI
                                                                                                                                                                                                                                                                                                 30000000

                                                                                                                                                                                                                                                                                             20000000

                                                                                                                                                                                                                                                                                             10000000

                                                                                                                                                                                                                                                                                            0
                                                                        United States of
                        Republic of


                                                 Philippines




                                                                                                                                                                                                                                 Burkina Faso
                                                                                                                                 Kyrgyzstan
                                      Maldives




                                                                                                                     Sri Lanka
              Bahrain




                                                                                           America




                                                                                                                                                         Hungary
                                                                                                                                              Ethiopia
                                                                                                            Norway




                                                                                                                                                                                                                Germany




                                                                                                                                                                                                                                                                  Indonesia
                                                                                                                                                                           Kosovo


                                                                                                                                                                                             Albania




                                                                                                                                                                                                                                                       Pakistan
                                                               Brazil




                                                                                                                                                                                                                                                                              Somalia
                                                                                                                                                                                                       Bosnia
                                                                                                                                                                                    Jordan
                                                                                                     Togo




                                                                                                                                                                   India




                                                                                                                                                                                                                          Mali




                                                                                                                                                                                                                                                                                         Italy
                                                                                                                                                                                                                                                Iraq




         It is clear from the graph of outgoing remi
                                                        ttances by country that Yemen was one
         recipients of remittances for activities, proj                                            of the largest
                                                        ects and sponsorship, accounting for 13%
         remittances, followed by the State of Pale                                                  of the total
                                                    stine, Italy, Syria and Somalia, accounting
         9%, respectively, with Bahrain and Egypt                                               for 6%, 8%, and
                                                    receiving the lowest percentage at 0.02%.




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     3. Outgoing remittances by activity and project:

                                                             250,000,000.00        With respect to remittances by project,
                                                                                   activity and sponsorship, charitable and
                                                             200,000,000.00        Islamic projects received the largest
                                                                                   percentage of remittances, accounting
                                                             150,000,000.00        for 50% of outgoing remittances during
                                                                                   2013, while sponsorships accounting for
                                                             100,000,000.00        29%, followed by relief projects at 15%,
                                                                                   and then seasonal projects at 6%.
                                                             50,000,000.00


                                                             -
                        Charit
           Season                      Spon        Reli
                         able
             al




           4. Outgoing remittances by continent:

                                                                              With respect to remittances by continent, Asia
                                                                              received the largest percentage of remittances,
                                                                              accounting for 52% of outgoing remittances
                                                                              during 2013, while remittances to Africa
       2%
                          19%
                                                                              accounted for 27%, followed by North
      0%
                                           52%
                                                                              America at 2%, and then South America at
                    27%
                                                                              0.05%.




           0• • •
             As      Afric
                     a
                                   South           North         Euro




              ■ ■
       5.         Outgoing remittances by implementing agency:

                                                                                       With respect to remittances by
                                     Field                 Partner
                                                                                       implementing       agency,     Qatar
                  41%                                                                  Charity’s field offices received the
                                                                                       largest percentage of remittances,
                                                             59%                       accounting for 59% of outgoing
                                                                                       remittances during 2013, while
                                                                                       remittances to partner organizations
                                                                                       accounted for 41%.




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     The activity of relief and urgent aid to countries represents one of the most important axes for Qatar
     Charity, due to the speed of achievement and the [need] to keep pace with any event that occurs around
     the world. This year, payments totaled QAR 64 million, including 57% for Syrian refugees, 12% as
     relief for Somalia, 11% for Yemen, and 11% for the Republic of the Union of Myanmar.

                                                                                                                                Ratio of item
       No.                 Country                     2011                         2012                      2013
                                                                                                                                to item total
          1    Syria                              1,797,500                    48,970,833              36,998,647                    57%
          2    Yemen                              4,575,501                    14,131,501               7,060,923                    11%
          3    Somalia                            9,813,870                     7,272,655               7,927,383                    12%
          4    Palestine                                  -                    19,040,645                    36,527                    0%
          5    Pakistan                           9,572,172                     1,120,596                    829,777                   1%
          6    Myanmar                                    -                     1,423,661               7,341,214                    11%
          7    Turkey                                     -                     6,071,174                       -                      0%
          8    Libya                              3,215,831                              -                      -                      0%
          9    Philippines                                -                              -              2,802,010                      4%
        10     Sudan                                      -                       28,170                     736,060                   1%
               Various other
        11                                        1,360,710                      822,970                     760,959                   1%
               countries
                    Total                        30,335,583                    98,882,205              64,493,501                    100%


      100,000,000
      80,000,000
      60,000,000
      40,000,000
      20,000,000
      0                I        •       •          •           m
                    Syria       Yeme    Somali     Palest      Pakis          Republic       Turke   Libya          Philip   Sudan      Various
                                                                               of the                                                    other
                                                                              Union of                                                 countries
                                                  ■;    2011    ■:     2012         ■: 2013

     Aid inside Qatar:
          Description                            2011                                        2012                               2013
      Needy families inside
                                            6,460,935                                    20,740,531                          17,614,934
             Qatar

     In 2013, aid to families totaled QAR 17 million, 60% of which was disbursed to Qatari citizens and
     40% was disbursed to residents, according to an integrated research team and a professional electronic
     system for organizing work starting with the submission of applications. All of this occurs through a
     committee formed at the highest level in accordance with the rules and controls for the disbursement of
     aid, thus confirming the extent of the great focus on Qatari groups that help and contribute to Qatar

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       Vision 2030 for social development. This has contributed to strengthening the Thukher Committee in
       helping needy Qatari families to address their financial problems, whether through direct financial
       support or indirect in-kind support such as opportunities for education, training, and medical treatment,
       etc, cooperating with state institutions and bodies to fulfill the needs of the needy, and assisting debtors
       and those with difficult financial issues.

Social and Advocacy Sponsorships:

       The sponsorships disbursed this year totaled QAR 127 million as compared to QAR 109 million in
       2012, a 16% increase. Moreover, the number of sponsees increased to 62,416 worldwide, a 9% increase
       over 2012 when the number of sponsees was 57,199. The statistics below compare three years:

               Years                           2011                      2012                       2013
        Number of
                                      40,333                    57,199                     62,416
        sponsorships
        Number of countries           32                        34                         34


      100%
             ---
                                                                                I
                                                                                                           Number
                                                                                                     •
                                                                                                           of
                                                                                                         Number of
                                                                                                         sponsorshi




      100%
                            2011                       2012                         2013




                  From 2012 to 2013 there was a 9% increase in the number of sponsees worldwide. The increase
                   was a result of the significant effort in implementing Qatar Charity’s strategy, out of belief
                   therein and enhancement thereof, in order to enrich community development, particularly in
                   terms of adopting sponsees and fighting poverty. This effort encompassed 34 countries
                   worldwide, including Qatar. Yemen is considered one of the most important countries in terms
                   of the number of orphans sponsored by Qatar Charity, where it sponsors 10,593. It also sponsors
                   9,434 in Palestine, 6,887 in Somalia, 4,828 in Iraq, and 2,704 in Sudan. As for the rest of Qatar
                   Charity’s sponsorships, they are spread among a number of countries on three continents,
                   namely Asia, Europe and Africa. Among the other most important countries are Qatar, Kosovo,
                   Albania, Bosnia, Lebanon, Indonesia, Jordan, Pakistan, Niger, Tunisia, Morocco, Kashmir,
                   Mali, Kenya, Ghana, Togo, Eritrea, Ethiopia, Mauritania, Bangladesh, India, Syria, Iran,
                   Kyrgyzstan, Burkina Faso, Chad, and Benin.

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     Plan for Expansion Abroad:

     There were 17 field and representation offices in 2013. This is in addition to the plan for expansion by
     up to 18 offices by the end of 2014.

                    2011                                2012                                  2013

      14 offices and representation        17 offices and representation     17 offices and representation
      [offices]                                      [offices]               [offices]


     The Organization focused on local work inside Qatar as well as work abroad in 43 countries. Special
     priority was given to the countries in which Qatar Charity has field offices for several reasons, the most
     important of which are:

              6.     Strengthening the capabilities of Qatar Charity's field offices.
              7.     Receiving carefully thought out project proposals.
              8.     Carefully following up on projects.
              9.     Controlling the specifications of the implemented projects.
              10.    The ability to mobilize local resources.
     As for countries in which the Organization has no offices, focus was placed on social projects, with the
     exception of Western Europe and Canada, given the nature of the projects that Qatar Charity has been
     implementing in these countries, which mainly pertain to Islamic cultural centers, as well as countries
     with which there were previous dealings when these dealings did not result in implementation problems.




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                                   [logo:]
                                Qatar Charity
                                Qatar Charity



                Auditor’s Report
           Qatar Charity’s Annual Financial
                     Statements
      For the Fiscal Year ended 31 December
                       2013




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      Financial Statements:

     The Organization’s annual statements are prepared in accordance with the international accounting
     principles and the principles of accounting for non-profit institutions, within a period of one month from
     the end of the fiscal year (and the external auditor is responsible for preparing them).

     The annual financial statements include the following:

            Financial Standing (Balance Sheet)

            Statement of Income

            Statement of Cash Flows

            Notes

      Recommendations

            Develop the financial system and update the accounting software used.

            Merge all software used into one software.

            Recommend taking appropriate decisions to improve the Organization's finances.

            Strengthen strengths and address weaknesses.

            Improve the efficiency of spending and marginal utility of expenditures, and the
             principle of costs versus benefits.

            Develop the financial system throughout the Organization.

            Develop the financial and administrative control, as well as strengthen internal
             oversight systems generally and all forms of oversight specifically.

            Create an internal audit and control department.

      Ambition and Challenges

     Future Plan:

     1. Qatar Charity will continue to implement its current strategy of supporting the capabilities of the
         neediest groups so as to achieve human dignity and social justice, and to enhance its vision in the
         model of a pioneering and distinguished Islamic organization that combines integrity, creativity,
         and professionalism in the field of development and humanitarian aid.

     2. Complete the preparation of the remaining policies and mechanisms and institute systems for
         continuous monitoring and follow-up.

     3. Launch the unified electronic accounting program in 2014 for all disbursement operations that will
         take place throughout all field offices and oversee it through the headquarters in Doha.




Qatar Charity                     Together… towards
                                                                       Issued in February
Qatar Charity         [logo:]     distinguished institutional                                        Page 45 of 46
                                                                       2014 A.D.
                                  work
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                               (Annual Financial Report for 2013) Qatar Charity

     4. Work will be done to launch Qatar Charity centers, with a new identity, to enhance the standing it
         has attained and attract the largest possible number of young people of both sexes to benefit from
         its distinguished and modern cultural and entertainment programs.



                                       Allah is the source of success…




Qatar Charity                    Together… towards
                                                                     Issued in February
Qatar Charity        [logo:]     distinguished institutional                                     Page 46 of 46
                                                                     2014 A.D.
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 Name:          Crystal Dai

 Title:         Senior Project Manager

 Date:          January 28, 2022




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[2013 ‫]التقرير المالي السنوي لعام‬                                                          ‫قـطـــر الـخـيـــريـة‬




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                                      ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬   ‫م‬2014 ‫ فبراير‬:‫إصدار‬      Page 1 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                                       ‫قـطـــر الـخـيـــريـة‬


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 Qatar       Charity                                                   ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                                 ‫م‬2014 ‫ فبراير‬:‫إصدار‬                      Page 2 of 47
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    ‫]التقرير المالي السنوي لعام ‪[2013‬‬                                                               ‫قـطـــر الـخـيـــريـة‬




                                        ‫‪Qatar Charity‬‬


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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                               ‫قـطـــر الـخـيـــريـة‬

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 Qata Charity C---17.)                                ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                                  ‫م‬2014 ‫ فبراير‬:‫إصدار‬              Page 4 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                         ‫قـطـــر الـخـيـــريـة‬

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   [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                ‫قـطـــر الـخـيـــريـة‬


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[2013 ‫]التقرير المالي السنوي لعام‬                                                              ‫قـطـــر الـخـيـــريـة‬




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    [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                    ‫قـطـــر الـخـيـــريـة‬

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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                           ‫قـطـــر الـخـيـــريـة‬




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                    276                                     303                                      311                                   351



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                          •    ‫عدد الموظفين القطرين‬      I. ‫ المركز الرئيسى‬- ‫عدد الموظفين المقيمين‬            ‫عدد الموظفين المكاتب الخارجية‬




 Qatar   Charity                                         ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                            ‫م‬2014 ‫ فبراير‬:‫إصدار‬             Page 9 of 47
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   [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                          ‫قـطـــر الـخـيـــريـة‬

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  Qata Charity              C---17.)
                                                         ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                              ‫م‬2014 ‫ فبراير‬:‫إصدار‬            Page 10 of 47
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   [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                 ‫قـطـــر الـخـيـــريـة‬

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 Qata Charity C---17.)                                    ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                                  ‫م‬2014 ‫ فبراير‬:‫إصدار‬              Page 11 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬
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       64,493,501                     98,882,205                   30,335,583                       xliott j**
       32,955,358                     26,728,599                   24,206,726                     Ci1-44, 0_9.4 ZJ* V*.
       31,136,377                      8,605,250                    2,705,550                   3,>,..Stt ;;,.+44:3 Ars*
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       17,538,726                      2,452,560                   44,178,558              C-A-14-,-4114 a):411IJ Lac, Jiir-4
       16,104,056                     11,979,331                    2,361,222                 t6r..)03 644.tijter-4
       10,624,546                     17,814,239                   9,075,991                       4.,ft.mt, jt.r..as
        2,421,131                      3,958,357                   4,802,841                  v..c_9:ai 4s .).s.i iLtt*4
      477,502,025                     430,773,866                 257,378,076                                 YI




Qatar Charity                               ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬        ‫م‬2014 ‫ فبراير‬:‫إصدار‬       Page 12 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                     ‫قـطـــر الـخـيـــريـة‬

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6,4.).L.24.4.t1 644. 1 411.:2tat'Y t_9::0.411 4,411/1 C4.4.1.4c fi.cb_9                         0 .1.c J.42/1.9 46.44. 1 411.1tbi 31312.4 L.T.t! 44-_‘;3/1

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 Qatar Charity                                               ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                               ‫م‬2014 ‫ فبراير‬:‫إصدار‬                Page 13 of 47
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                    ‫قـطـــر الـخـيـــريـة‬

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Qatar Charity
                                                ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                         ‫م‬2014 ‫ فبراير‬:‫إصدار‬                Page 14 of 47
                                                                                                                                                                                                                                                     ‫البحرين‬
                                                                                                                                                                                                                                                     ‫أوكرانيا‬
                                                                                                                                                                                                                                        ‫جمهورية المالديف‬
                                                                     ‫‪A4POLID jc,4Oc,‬‬
                                                                           ‫‪#: 645‬‬




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‫‪Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 64 of 96 PageID‬‬




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                                                             ‫معاً ‪ . .‬نحو عمل مؤسسي متميز‬




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                                              ‫‪Page 15 of 47‬‬




                                                                                                                                                                                                                                                 ‫بنغالديش‬



                                                                                                              ‫‪.10‬‬
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    [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                          ‫قـطـــر الـخـيـــريـة‬

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  Qatar Charity                                              ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                          ‫م‬2014 ‫ فبراير‬:‫إصدار‬              Page 16 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                     ‫قـطـــر الـخـيـــريـة‬

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 Qatar        Charity
                                                                   ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                             ‫م‬2014 ‫ فبراير‬:‫إصدار‬                Page 17 of 47
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[2013 ‫]التقرير المالي السنوي لعام‬                                                                                        ‫قـطـــر الـخـيـــريـة‬

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Qatar   Charity
                                                   ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬               ‫م‬2014 ‫ فبراير‬:‫إصدار‬            Page 18 of 47
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[2013 ‫]التقرير المالي السنوي لعام‬                                                            ‫قـطـــر الـخـيـــريـة‬




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                                      ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬     ‫م‬2014 ‫ فبراير‬:‫إصدار‬     Page 19 of 47
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  Page 20 of 47          ‫م‬2014 ‫ فبراير‬:‫إصدار‬                                  #: 650
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                                                              ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                                   JID4IND




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 ‫قـطـــر الـخـيـــريـة‬                                                                             [2013 ‫]التقرير المالي السنوي لعام‬
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                            ‫قـطـــر الـخـيـــريـة‬

2013 ALa 0 112012 Ala 6.4 •/.21 ‘;'t"A A1-3 4:°14?"9-431 L7t14-,.3 V :)hCY Li1W' ci#.621 4:0 
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                 T.2 -                               13,099,229                                         2012
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                                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                 ‫م‬2014 ‫ فبراير‬:‫إصدار‬
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                       ‫قـطـــر الـخـيـــريـة‬


                     8                              524,406,421                                     2013

                     4                              483,425,173                                     2012

                                                    465,666,571                                     2011



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       y.16              524,406,421           82,334,718            41,178,000            41,156,718              2013
       y.12              483,425,173           58,297,186            18,000,000            40,297,186              2012
        35               465,666,571          161,947,921            123,420,004           38,527,917              2011




Qata    Charity
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                   Q1 .
                                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬            ‫م‬2014 ‫ فبراير‬:‫إصدار‬     Page 22 of 47
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‫قـطـــر الـخـيـــريـة‬                                                                         [2013 ‫]التقرير المالي السنوي لعام‬
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                     ‫قـطـــر الـخـيـــريـة‬


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   2011




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                   60                                 65,587,569                              2013

                   17                                 40,905,804                              2012

                                                      35,054,224                              2011




Qatar Charity
                                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬          ‫م‬2014 ‫ فبراير‬:‫إصدار‬     Page 24 of 47
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                ‫قـطـــر الـخـيـــريـة‬



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          7          65,587,569               4,773,679           2,679,769             2,093,910                  2013
        'I.8         40,905,804               3,232,140           1,446,855             1,785,285                  2012
         12          35,054,224               4,190,695           2,713,459             1,477,236                  2011




 Qata     Charity
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                    Q1 .
                                                ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬            ‫م‬2014 ‫ فبراير‬:‫إصدار‬         Page 25 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                 ‫قـطـــر الـخـيـــريـة‬


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      2012
      2011



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ata     Charity                              ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬     ‫م‬2014 ‫ فبراير‬:‫إصدار‬   Page 26 of 47
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[2013 ‫]التقرير المالي السنوي لعام‬                                                                          ‫قـطـــر الـخـيـــريـة‬




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                                          130 321 436                                   2011




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                 130,321,436




                    2011                               2012                                2013


C."
Qatar Charity
                                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬              ‫م‬2014 ‫ فبراير‬:‫إصدار‬      Page 27 of 47
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                          ‫قـطـــر الـخـيـــريـة‬

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                96                                59,511,034                                           2013
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                                                    ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                  ‫م‬2014 ‫ فبراير‬:‫إصدار‬
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[2013 ‫]التقرير المالي السنوي لعام‬                                                                                     ‫قـطـــر الـخـيـــريـة‬




                                                                                      59,511,034



                             30,426,438




                               2012                                                         2013




                                                          :;6.61.-U.411                             :;%401.4.1.4 346 Z.6 t?.          
                                                                        6.4                  ‘:)1-111 i


                                                                                                 saj-4.3 c;%:u.a.4 3,6003-6

                                               J14)114 &44-411
                    35                           29 342 228                                        2013

                    10                           21 728 091                                        2012
                                                 19 670 174                                        2011




                                                                                                   29,342,228

                                                           21,728,091
                  19,670,174




                    2011                                       2012                                 2013
 la/ I 4:.c 'A35 3                                4L1-4.-+ 417.+44:1          :;,:Ui.1411     I.ifiat)4111 ‘7.a 0 A17:13              
                             Cua.4.11 uloyVI                           SA L611 oak ,.S )441 JAWS                           4:j4Laii
           I.4                        V.i   44.4.4 4:%.4.141                                                         6-4.A.6r-411

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Qatar
            J"--1=-C:
            Charity     Q_
                                                  ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬               ‫م‬2014 ‫ فبراير‬:‫إصدار‬           Page 29 of 47
 Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 79 of 96 PageID #: 660
  Page 30 of 47           ‫م‬2014 ‫ فبراير‬:‫إصدار‬               ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                              .44p      .11 1.1:eD




                        2012                                137,109,157                                              8
                                                                                                                 -
                        2013                                191,293,635                                          40


            .2                                      :
                   iftrcrrt'rl         Itterr. IrPr.
            Ifoviretr. Iftmor4 k.^
                                 .. flcm"."1.              Ifwir l rr tr.              e                         cr,
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                               2013                                   2012                                2011




                                                                 315,174,639                           320,235,696

                           414,458,399




                        2011                                320,235,696

                                                                                                                 - T.
                        2012                                315,174,639                                              2
                        2013                                414,458,399                                          32


            .1                          :
                   14VFIr It""CTITr.

rci   Fier.' .rice rzeti" (tcr PrcIrFt'rl 6.7"-Zel Pre)*
      (I4Vfir                    —   Irrcrrrt117                            IrrcIrrt11.7 IT".71FPr.)-
      C.
       7.         6c: ITircrrirl 042 irtFr Irre'r.s
            F67÷•r. rrlco I. 042 Itr
                                 8              2011                2012
                                                ltr.
                                                                                          21                 2012                  2013
            042 Irwril" ItR,I          6. 1M4. ./ In I>"-°lf )                    67"''^    I. ter.'    Itr                  Itr.


                        2011                                741,150,986
                        2012                                798,573,831                                           8
                        2013                                970,731,911                                          22

  ‫قـطـــر الـخـيـــريـة‬                                                                           [2013 ‫]التقرير المالي السنوي لعام‬
  Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 80 of 96 PageID #: 661

  [2013 ‫]التقرير المالي السنوي لعام‬                                                                             ‫قـطـــر الـخـيـــريـة‬


                                                        148,524,641                                        2011




                                                                                             191,293,635

                148,524,641
                                                       137,109,157




                      2011                                  2012                                2013

U16! *kr-CLI              ij T 40 :;..44.A.) j4L.A.,t1 A6.11 vc ';‘.41.-C4.411 j 4c: U141.1.1=4/1                    6,-ta. 
                                                      Ojb    .A           :;JAL41               0 .u.64) ./1 j .:2.*411 olvji
                                                                                          .;431,-C.4/1 C$149.1.641-3



                      5                                 364,979,877                                        2013
                 'I.27                                  346,748,212                                        2012
                                                        272,390,649                                        2011



                                                       346,748,212                           364,979,877
                 272,390,649



                      2011                                  2012                                2013
.,,,)+Z I        *u* ..S49           5          C94         Lill 6.c .6%.ti I irt.411 4L145.1.6.4/1        e_114>1              
                                  .3A•1=o O,11,A;tt i?..:4a79.411 U1062411




                                                                                              ZXt_94.wil             .1




 Qata       Charity    C---17.)
                                                ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬             ‫م‬2014 ‫ فبراير‬:‫إصدار‬      Page 31 of 47
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                        ‫قـطـــر الـخـيـــريـة‬




      0.91                   364,979,877                       331,895,691                        2013

      0.78                   346,748,212                       269,628,107                        2012

      0.84                    272390649                        228,663,195                        2011



                                                                                         0.91

                  0.84

                                                     0.78


                  2011                               2012                               2013




 0.91:1 ) ji-1.1.449 '/'91 4191.121 :;•+.4.110:) 4:4;141        2013                                                     
    331,895,691                                     O/14-,.1 &I4           :;..2141.w.J1 Ali.cY1              La4t
        149 4)12,:a Jio.) 364,979,877 ?...y.114/1
O.111:-&:)1                           4,          ,L145.1.6.411                                 &I4 Lao: 4)63
         603      •Cl. 041   i-Li.J1 L,:(nua laoLai '6;491•Ltail ,L145.1.6.4/1 6.4.1 6.4 4i
        0 1:616 O4*                  6.4.4.1 U aiA./         ;:n.a.L.411 Li' bi.4fti.uAtI 6.c NLk C 4 .)*1:11.1

                                                                   -‘11. . 4 Icgb               4.L1.413214

                                                                                ;N-.15.971.-to ‘;‘4.44,5-2

            134                      414,458,399                    556,273,512                           2013
            154                      315,174,639                    483,857,369                           2012
            131                      320,235,696                    420,915,290                           2011




             I--                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬             ‫م‬2014 ‫ فبراير‬:‫إصدار‬      Page 32 of 47
Qata Charity Q1 .
‫‪Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 82 of 96 PageID #: 663‬‬

‫]التقرير المالي السنوي لعام ‪[2013‬‬                                                                                ‫قـطـــر الـخـيـــريـة‬




                                                        ‫‪154%‬‬




                                                                                                  ‫‪134%‬‬
                 ‫‪131%‬‬



                ‫‪2011‬‬                                   ‫‪2012‬‬                                      ‫‪2013‬‬


       ‫‪2013‬‬           ‫‪134 :;....694 J.411‬‬          ‫‪4:41,14‬‬       ‫‪clinc.6‘4:1‬‬                         ‫‪.641_91.)•i‬‬        ‫‪1:1=161‬‬
                                                                                                                          ‫‪.‬‬        ‫‪‬‬
                                                                                             ‫‪T.20 of ,-199 o LLI6r.A.1‬‬



                                                             ‫>_‪1:%4-1.4-711 6./0.) Ligiog 4LI 1,,.)1.1 t i?.:3‬‬                      ‫‪4I5LN‬‬
‫‪2013‬‬
                                ‫‪2013‬‬                   ‫‪2012‬‬                      ‫‪2011‬‬
‫‪2012‬‬         ‫‪2011‬‬
  ‫‪11%‬‬          ‫‪84%‬‬         ‫‪645,531,012‬‬              ‫‪581,794,068‬‬                ‫‪350,083,373‬‬                                        ‫‪4Licj .eati‬‬
                                                                                                                  ‫‪v.) Lt...41‬‬
  ‫‪11%‬‬          ‫‪76%‬‬         ‫‪526,359,451‬‬              ‫‪474,688,264‬‬                ‫‪299,658,333‬‬

                                                                                                                            ‫‪CA05).6a.41‬‬
      ‫‪-2%‬‬      ‫‪16%‬‬           ‫‪37,708,936‬‬               ‫‪38,633,644‬‬                ‫‪32,402,051‬‬
                                                                                                             ‫‪a‬‬   ‫‪C.ttc_91,141 4.414-'1‬‬
  ‫‪10%‬‬          ‫‪70%‬‬         ‫‪564,068,387‬‬              ‫‪513,321,908‬‬                ‫‪332,060,384‬‬
                                                                                                                                  ‫‪,SNib)ti‬‬

  ‫‪19% 352%‬‬                ‫‪81,462,625‬‬               ‫‪68,472,160‬‬                  ‫‪18,022,989‬‬

 ‫‪700,000,000‬‬




                                                               ‫‪1‬‬
 ‫‪600,000,000‬‬
 ‫‪500,000,000‬‬                                                                                                                      ‫‪2011‬‬
 ‫‪400,000,000‬‬
                                                                                                                            ‫‪• 2012‬‬
 ‫‪300,000,000‬‬
 ‫‪200,000,000‬‬
                                                                                                                            ‫‪• 2013‬‬
 ‫‪100,000,000‬‬                                                                                                 ‫‪7‬‬
           ‫‪0‬‬
                           ‫التبرعات‬                ‫مصروفات االنشطة‬              ‫المصروفات االدارية‬




‫‪ata‬‬    ‫‪Charity‬‬
                                            ‫معاً ‪ . .‬نحو عمل مؤسسي متميز‬               ‫إصدار‪ :‬فبراير ‪2014‬م‬         ‫‪Page 33 of 47‬‬
 Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 83 of 96 PageID #: 664

 [2013 ‫]التقرير المالي السنوي لعام‬                                                                               ‫قـطـــر الـخـيـــريـة‬


                                                                                                  tL:9-.116"11
2011 6.4 X0;1'41149 T.11 Lk                            2013 fiLa ‘ 112012 Alz,.a uLc,) 421 _9.4:) 3 46 
    aat4                                        o ic                              4 41    84
Las ,i)izai JiTa.J 6144. 581 &I-4 2012 Alat) XD 14 4,A:a JITa.J 6/4° 645                    2013 Alc
2012 A LA          laiial4 4A:a 4314) 6.944 526 aar.14 4Lttl:a ..ttg &jr.614.4.t1 4LI.c91.t.at .6%.4.6‘4214
     76 aat4 2011 Ala 6.c .1• 14.3 :;•.:1.610:44.9 11 LiO) iiA14,34 4 ) 61 451..) 6140 474.6 &n‘a
141)   3413 2012 ALC 0 /12011 ALC 6.0 0 11121 o ic                            .
                                                                              4L111 ).‘gioutl ,*;, ‘&0217, 1.41
                  . 46-. 3 i:".“•1...1.“0 }C E.:1*U S49 (/.2 - )
4L111).fia.411 J 74.                                                                     2013             2012            1-4:Y4     19
    ‘-:274.t
         . LS2I UL.31.6‘4.a. ti ta '6%.‘a•L.c.‘id e_41:31 Loic J•10. laa9 4LLai).L.4.t             i?..12iLl0
                                                                                                          .."111 ola            4AI:4/I
                                                                                                                                  *
                                                                                              .3,).Z11; 4.411

                                                                                         so 14..44k121           Lajnatl jj


                                                        CL1.41.9%424.
                                                                  * tl
     —t 2013
                        4,4im-)ts
 2012       2011      2013           2013              2012                2011
    68%      149%         23%        146,054,869         86,726,525          58,583,223                                                     1
  11%        37%          19%        125,731,856       112,968,527           92,059,302                                                     2
                                                                                                                         14:1?$ ‘L%*1:2.
  -18%       83%          14%         91,414,812       110,866,952           49,977,698                                    wticl &)UV')     3
   125%     100%          10%         66,614,077       29,608,610                     -                                            v ) L'a I 4
  -27%      152%          9%          59,999,014        82,343,860           23,816,805                   4ALoor-tl /A             &A:14    5
   -2%        4%          8%          49,052,368         50,234,898          47,248,486                     ( 4..tbV4.aw
                                                                                                              .       . ,11) ,24.9.11       6
 -0.05%      31%          6%          40,001,523         40,020,869          30,650,085                                        J1.4 F•l 3   7

  -15%       34%          2%          11,885,040         13,980,747           8,862,276                                                     8

   -1%      128%          2%          11,441,837         11,512,095           5,018,814                                                     9

   -5%       -2%          2%          10,187,438         10,691,243          10,394,637                                                     10
  28%        84%          2%            9,707,767         7,565,552           5,278,029                                                     11
   -8%      100%          1%            8,462,436         9,221,543                       -                                                 12
  -35%       -42%       0.45%           2,928,519         4,483,248           5,021,300                                                     13

  14%        18%        0.38%           2,438,829         2,147,974           2,072,794                                                     14

  450%      100%        0.33%           2,156,488           391,800                       -                                                 15
  -19%       -9%        0.27%           1,715,282         2,129,587           1,876,092                                                     16
  316%      211%        0.26%           1,646,967           396,303               528,821                                                   17
  -15%       -14%       0.23%           1,478,743         1,743,108           1,721,966                                                     18
  -44%       -66%       0.17%           1,118,365         1,994,208           3,316,803                                                     19



ata Charity                                 ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬             ‫م‬2014 ‫ فبراير‬:‫إصدار‬           Page 34 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                       ‫قـطـــر الـخـيـــريـة‬

    100%           98%              0.10%              637,989                        -                322,000                                                         20
    -40%           931%             0.08%              512,324             854,485                        49,685          J14-1.    11                                 21
    -82%           -90%             0.05%              344,468           1,911,933                    3,284,558                            4S)Li-                      22

     11%            84%               100%      645,531,012           581,794,068                350,083,373




      100%
       90%
       80%
                       INININININININININ
                        •• •• Nietimisisim   • • NUN
                                            iNINON migo • • •• •• •• ••
       70%                    • • • • • • • • • • • • • • • • • • •
       60%              • • • • • •                     •     •   •     • • • •                   •       •     •     •   •     •     •     •
       50%              • • • • • •                     •     •   •     • • • •                   •       •     •     •   •     •     •     •
       40%              • • • • • •                     •     •   •     • • • •                   •       •     •     •   •     •     •     •
       30%              • • • • • •                     •     •   •     • • • •                   •       •     •     •   •     •     •     •                     2013 ‫عام‬
       20%              MENNEN                                          WNW                                                           •     •
       10%
        0%
                        • • • • • •                                         • •                   • •                                                           J 2012 ‫عام‬
                                                                                                                                                                  2011 ‫عام‬
                  •; -\\°             );"                         •15       .
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            f      t
                                                                          45;4/5 3                    r               \   •-•
       ,\/)*                                                                                                        •>>


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                                                       2013             4 /1.4-,.V1 ‘_,11 ulc                    tl:;I4.6‘4.1t 0 /141                JI .1
T. 23 4:4114                      :;.-1)-*t1                  J:44 ‘ b                            dial 61 Uzi j4L,J1 ji J-11 6.4
- :;.L*11. 41.1) A9:y                          0 .6,0911                            1.4:47.471   2013 JAC 4L1hiltWa4                      1.41.."1   6.4
Ller-t1 50.i ict 6.c :;...ti.4.4/1 4LI.c_5).L...41' 1- ip             1.4. t1 19:4.                j -1).1a 6.c v`?9.4.0 4LLal.):.‘4.4.t
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wt          LAy             8 C 9 C 10 T.14 4 /1121 oic acilts ,,tab (4Lb1.4410`11-
                                                            0.02 ( csj .S.1-,34.6.4;1 4.61:25) 4s ).S.Y1 .                          .9 j?+.:4.6,0:) Sal


               : 2012 A64 X3)1:24114 2013 Ala                                                    1.72.44 1.4:J1 :;I4.6‘4.1t 0 /141                         .2
.6;'4$1 =       1 4. 01.c1,-41,.0 9'l. 450 4 4:J1                              44:1.6;`",                      3)-40119
                  i:4:11      9      125 :;‘,49.t.t1                                                       • 19 I.315 :;61
                                                                      Calg-/r-11 6.4:;%1_9.4.411 CaLcji .,:;,.4.1        ...94)::11.9
                                                         11                                                    1.4>V1 CAP                    4.7.9 _94.1




 Qata       Charity Q1 .
                           I --
                                                        ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                            ‫م‬2014 ‫ فبراير‬:‫إصدار‬         Page 35 of 47
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            [2013 ‫]التقرير المالي السنوي لعام‬                                                                                      ‫قـطـــر الـخـيـــريـة‬



                                                        Lot 149
                                                             .     • Lai-.CJI ZIA 0 1'24 L.71a 4.37!'6F:4114 s94aC1 0 1124 val:1 4:01"."_9
                                                                4.-°
                                                                                                                                4L1
                                                                                                                                .       1) .(1.11 -1
                                                   AJWI al :444A oicvim..                   I j ica               4.72I                :;%.2.444.2
                                                                                                   Cal:(41 Zero 651a:4i U1.4.11_5

        aal4 4 2 4 2012 /1124 :;,:bia4114 J 10.) 6/4 4 66.6 &L.'44 2013 4 /14/1 _.011-1/1 6.c .6.^.4.1:L‘4.411 &tit(.4/1
                                                                                                125 4).a 346 .6;`n,"Al J 10.)                        29.6


                                                                                                   sz;61:i.s.ti               & 71,:siAwl -2
                                                       Jac? Log 041 ,Liajj.i.‘4.4.t
                                                                              %     6.4 :;•+.:4;47.4ail                                              
        4)4111 odasa411                         C>,attl :;%16.‘-‘411     1%Lai &O)          1     u    AibLa                       CJLa)CJI
               :iVaLilY14                       AL. 6,4,_)""YI 6,4                          4t)11:7244:;`42-4irlia 4 4 .9
        2014 fiLa ‘.79                                          LJ-         via g 19-4 5 4. 111:1 0. 2 4 Vs.4:suts                    tlg11.4
                                                . 2014 Ala .6". 7).140        g19.4 8 v rl c Agai:41 ,L1491or-tli g 19.41 34) j.t
        2012 4 .fi es411
                    .                      61 pia. 20125 2013 4 .4La                                            Lachtl                               
        9          2012 ALa v9 JI Awtts 4:41,1
                                            7,                      .2011 Alc ,:t14                          Ai 0 21
                                                                                 8.9 4:L44 2013 A La ‘7b La:S1 As) 6944
                                                                         4:197.13
                              a.17, 2013 Alai                          a_5:t.iuda v Lc el).L.4.t
                                                                                           .-    Li' IA1,,) 41 j(.IorLi 14 1.40:3
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                         .4›.11#4 Ulaji.L.            o ic                  4Lb144.4.9                        4:*.c *6 4.c Jt      485412

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3,000,000

2,500,000

2,000,000

1,500,000

1,000,000

 500,000

       0
               ‫سوق الصناعية‬      ‫التصدير‬    ‫سوق الصناعية‬     ‫سوق الصناعية‬    ‫السوق الخيري‬        ‫معرض بروة‬      13 ‫محل شارع‬   ‫تبرعات عينية‬
                 48 ‫شارع‬                    ‫معرض السنبلة‬        2 ‫شارع‬          ‫المتنقل‬                            ‫الجديد‬         ‫أخري‬
                                                ‫الخيري‬




                                                                                            lorZ Lc510.4.4                            j5,-*1



            Qata   Charity
                               I --
                               Q1 .
                                                           ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                      ‫م‬2014 ‫ فبراير‬:‫إصدار‬      Page 36 of 47
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                      ‫قـطـــر الـخـيـــريـة‬




       cvii :3%#,A,21                 J.,20r...ts Awtts                                                    &.u.ts ..totza
        0 1141-,)ti

          33%                              2,972,022                                                                     48
          18%                              1,654,507                                                                                 j -ti-1.6a21 ulna

          13%                              1,185,579                                          4.),-.0r-t1 :;%.1 (:(.6‘411 oilt,        :;,..,C tidali 3_9.,,,

          13%                              1,145,731                                                                      2
           9%                                794,721                                                                      SQ.
                                                                                                                           - Z.4as 4 )7*t1 :99.60./1
           5%                                458,533                                                                                        .41)9 0 1.>&4

           2%                                211,343                                                                        .—I 13 b1t J.-^r-d

           6%                                525,912                                              ,LbL.,61 47413 4 )...4.i                    .a ,:J
                                                                                                                                                   . L.C. 4.3.


         100%                            8,948,348


                                                                                                                  t6:21_911_)1.4filul                 -3


          2013                                  2012                             2011
                                                                                                            ,Lb             jlofilu.ol                      1
       49,052,368                         50,234,898                        47,248,485
                                                                                                                                  ;;:ntA:4-p-49
0)4.4. 34).6 4:*c                   ';.y..) L4f-ahal ';‘/A1-,r-49 ‘'iy.) 1.4f-ahal 4.Lb lac         ‘.:22.9./1 411.9.41                           J.61           -

Jac j JO. 1.4.4             ,j ...4.1.t111 :;,..",)•%.4.ti      :;1-441 at›.94211         iLblofi:i..Nt9 ,4 ij r.iimti..0.4fii.wtti

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              I--                                        ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                      ‫م‬2014 ‫ فبراير‬:‫إصدار‬            Page 37 of 47
 Qata Charity Q_
‫‪Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 87 of 96 PageID #: 668‬‬

‫]التقرير المالي السنوي لعام ‪[2013‬‬                                                                           ‫قـطـــر الـخـيـــريـة‬



   ‫‪J‬‬   ‫‪2013‬‬

‫‪2012‬‬     ‫‪2011‬‬        ‫‪2013‬‬            ‫‪2013‬‬             ‫‪2012‬‬                 ‫‪2011‬‬

 ‫‪38%‬‬      ‫‪107%‬‬          ‫‪43%‬‬     ‫‪210,785,632‬‬       ‫‪152,773,136‬‬       ‫‪101,643,379‬‬                                                 ‫‪1‬‬
 ‫‪17%‬‬       ‫‪48%‬‬          ‫‪26%‬‬     ‫‪127,582,366‬‬       ‫‪109,295,196‬‬        ‫‪86,269,869‬‬                                                 ‫‪2‬‬
‫‪-35%‬‬      ‫‪113%‬‬          ‫‪13%‬‬         ‫‪64,493,501‬‬      ‫‪98,882,205‬‬       ‫‪30,335,583‬‬                                                 ‫‪3‬‬
‫‪-15%‬‬      ‫‪173%‬‬           ‫‪4%‬‬         ‫‪17,614,934‬‬      ‫‪20,740,531‬‬        ‫‪6,460,935‬‬                                                 ‫‪4‬‬
 ‫‪13%‬‬       ‫‪77%‬‬           ‫‪3%‬‬         ‫‪15,983,986‬‬      ‫‪14,085,864‬‬        ‫‪9,021,950‬‬                                                 ‫‪5‬‬
‫‪-20%‬‬      ‫‪-23%‬‬           ‫‪3%‬‬         ‫‪13,882,999‬‬      ‫‪17,425,708‬‬       ‫‪17,973,747‬‬                                                 ‫‪6‬‬
 ‫‪24%‬‬        ‫‪-7%‬‬          ‫‪2%‬‬         ‫‪12,139,439‬‬       ‫‪9,807,786‬‬       ‫‪13,112,141‬‬                                                 ‫‪7‬‬
‫‪107%‬‬      ‫‪210%‬‬           ‫‪2%‬‬         ‫‪10,675,860‬‬       ‫‪5,169,147‬‬        ‫‪3,448,848‬‬                                                 ‫‪8‬‬
‫‪-46%‬‬      ‫‪100%‬‬           ‫‪1%‬‬          ‫‪4,036,047‬‬       ‫‪7,467,515‬‬                    ‫‪0‬‬                                             ‫‪9‬‬
 ‫‪57%‬‬       ‫‪98%‬‬           ‫‪1%‬‬          ‫‪3,411,131‬‬       ‫‪2,168,519‬‬        ‫‪1,718,752‬‬                                               ‫‪10‬‬
 ‫‪23%‬‬       ‫‪40%‬‬           ‫‪1%‬‬          ‫‪2,897,758‬‬       ‫‪2,353,216‬‬        ‫‪2,072,635‬‬                                               ‫‪11‬‬
‫‪-50%‬‬          ‫‪4%‬‬         ‫‪1%‬‬          ‫‪2,861,899‬‬       ‫‪5,743,752‬‬        ‫‪2,756,770‬‬                                               ‫‪12‬‬
‫‪438%‬‬      ‫‪100%‬‬        ‫‪0.38%‬‬          ‫‪1,872,000‬‬         ‫‪348,000‬‬                    ‫‪0‬‬                                           ‫‪13‬‬
‫‪393%‬‬      ‫‪330%‬‬        ‫‪0.29%‬‬          ‫‪1,419,955‬‬         ‫‪288,001‬‬             ‫‪329,950‬‬                                            ‫‪14‬‬
‫‪-15% 9886%‬‬            ‫‪0.22%‬‬          ‫‪1,088,060‬‬       ‫‪1,277,883‬‬              ‫‪10,896‬‬                                            ‫‪15‬‬
‫‪141%‬‬      ‫‪194%‬‬        ‫‪0.12%‬‬           ‫‪577,253‬‬          ‫‪239,382‬‬             ‫‪196,368‬‬                                            ‫‪16‬‬
‫‪-76%‬‬      ‫‪100%‬‬        ‫‪0.01%‬‬            ‫‪31,500‬‬          ‫‪133,733‬‬                    ‫‪0‬‬                                           ‫‪17‬‬
‫‪100%‬‬      ‫‪100%‬‬        ‫‪0.01%‬‬            ‫‪30,675‬‬                  ‫‪0‬‬                  ‫‪0‬‬                                           ‫‪18‬‬
 ‫‪32%‬‬       ‫‪44%‬‬        ‫‪7.12%‬‬         ‫‪34,974,456‬‬      ‫‪26,488,688‬‬       ‫‪24,306,510‬‬                                               ‫‪19‬‬

‫‪11%‬‬       ‫‪76%‬‬        ‫‪100%‬‬       ‫‪526,359,451‬‬       ‫‪474,688,264‬‬      ‫‪299,658,333‬‬




‫‪Qatar Charity‬‬
                                            ‫معاً ‪ . .‬نحو عمل مؤسسي متميز‬              ‫إصدار‪ :‬فبراير ‪2014‬م‬     ‫‪Page 38 of 47‬‬
Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 88 of 96 PageID #: 669

 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                  ‫قـطـــر الـخـيـــريـة‬

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 60%

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Qatar Charity
                                                       ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                     ‫م‬2014 ‫ فبراير‬:‫إصدار‬               Page 39 of 47
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     Page 40 of 47                 ‫م‬2014 ‫ فبراير‬:‫إصدار‬                   Aybiouip#:Joiric)
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                                                                             ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬




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    ‫قـطـــر الـخـيـــريـة‬                                                                                                   [2013 ‫]التقرير المالي السنوي لعام‬
 Case 1:20-cv-02578-BMC Document 59-22 Filed 02/15/22 Page 90 of 96 PageID #: 671

   [2013 ‫]التقرير المالي السنوي لعام‬                                                                                        ‫قـطـــر الـخـيـــريـة‬

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 Qatar Charity                                    ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                 ‫م‬2014 ‫ فبراير‬:‫إصدار‬          Page 41 of 47
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  ‫]التقرير المالي السنوي لعام ‪[2013‬‬                                                                                                           ‫قـطـــر الـخـيـــريـة‬



                             ‫‪2013‬‬                       ‫‪2012‬‬                            ‫‪2011‬‬
         ‫‪2013‬‬
         ‫‪57%‬‬                 ‫‪36,998,647‬‬                ‫‪48,970,833‬‬                      ‫‪1,797,500‬‬                                                             ‫‪1‬‬
         ‫‪11%‬‬                 ‫‪7,060,923‬‬                 ‫‪14,131,501‬‬                      ‫‪4,575,501‬‬                                                             ‫‪2‬‬
         ‫‪12%‬‬                 ‫‪7,927,383‬‬                  ‫‪7,272,655‬‬                      ‫‪9,813,870‬‬                                                             ‫‪3‬‬
          ‫‪0%‬‬                  ‫‪36,527‬‬                   ‫‪19,040,645‬‬                              ‫‪-‬‬                                                             ‫‪4‬‬
          ‫‪1%‬‬                  ‫‪829,777‬‬                   ‫‪1,120,596‬‬                      ‫‪9,572,172‬‬                                                             ‫‪5‬‬
         ‫‪11%‬‬                 ‫‪7,341,214‬‬                  ‫‪1,423,661‬‬                              ‫‪-‬‬                                                             ‫‪6‬‬
          ‫‪0%‬‬                        ‫‪-‬‬                   ‫‪6,071,174‬‬                              ‫‪-‬‬                                                             ‫‪7‬‬
          ‫‪0%‬‬                        ‫‪-‬‬                        ‫‪-‬‬                         ‫‪3,215,831‬‬                                                             ‫‪8‬‬
          ‫‪4%‬‬                 ‫‪2,802,010‬‬                       ‫‪-‬‬                                 ‫‪-‬‬                                                             ‫‪9‬‬
          ‫‪1%‬‬                  ‫‪736,060‬‬                    ‫‪28,170‬‬                                ‫‪-‬‬                                                            ‫‪10‬‬
          ‫‪1%‬‬                  ‫‪760,959‬‬                    ‫‪822,970‬‬                       ‫‪1,360,710‬‬                                                            ‫‪11‬‬

        ‫‪100%‬‬                 ‫‪64,493,501‬‬                ‫‪98,882,205‬‬                     ‫‪30,335,583‬‬



   ‫‪100,000,000‬‬
    ‫‪80,000,000‬‬
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                                                                               ‫إتحاد ميانمار‬                                                              ‫أخرى‬

                                                      ‫عام ‪ . 2013‬عام ‪ • 2012‬عام ‪. 2011‬‬




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          ‫‪2013‬‬                          ‫‪2012‬‬                          ‫‪2011‬‬
        ‫‪17,614,934‬‬                      ‫‪20,740,531‬‬                     ‫‪6,460,935‬‬                                      ‫‪)61‬‬          ‫‪4.„t‬‬       ‫‪1 A :;‘.:3:623:4.4„)..cui‬‬




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‫‪,>6:1‬‬       ‫‪cgb A40.49‬‬                  ‫‪029‬‬                                             ‫‪. Y1 Sao‬‬
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 ‫‪Qatar Charity‬‬
                                                     ‫معاً ‪ . .‬نحو عمل مؤسسي متميز‬                          ‫إصدار‪ :‬فبراير ‪2014‬م‬                  ‫‪Page 42 of 47‬‬
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 [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                             ‫قـطـــر الـخـيـــريـة‬

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                                                       ‫ نحو عمل مؤسسي متميز‬. . ً‫معا‬                             ‫م‬2014 ‫ فبراير‬:‫إصدار‬               Page 43 of 47
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  [2013 ‫]التقرير المالي السنوي لعام‬                                                                                                                          ‫قـطـــر الـخـيـــريـة‬

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                                                                                                                    4:1.3.%)a.a4 L.,La J9.             ?I    .7

                                                                                                        .3.4:9* J 4-          v.)1.41\411 *;..2.;i114        .8

                                                                                          aIL:,4n            L'L.4/1 CJLIapt9.4           A           111    .9

                                                                                                                    4)1_9.4           L.,.La 7:!)           .10

  L'
   L.L1a14 4,*/:aL4:4*-1.Y1 v ) 1 411 ola Lp.a:                                       j oLi                        Lika                                0 2119a/1 Loi

O21.9                ad) ‘.7.9                                                            0 21 v .)U41                                                                    14.19i

4:„*.c E.I,63 jai 12,...iLa 4.1.4 L.L4621                      0 21 L19.t.t1                            c*,;.-.01:11t1 *j.-4N4a)11 j.            t) .4.t1 LaLwi

                                                                                                                                 X11 ,..7b Li        t.fu'A 1432.4 Jols21




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   casmast1441)-41.4-14.114B
                           ;9,        j staat
                                           . isca                   tWI j ..a lAHM
                  2013n4.4aa,tA 31 O1 .6;‘,44.H.I411 :;.41.4.1r1 ke;%.:LiAtI Zia



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                                                                                                                                                              C;4.4.              4:5151kkt1 

‘. ;%:     14.11              Li.4.44.41 Y•%44.A:t-4                           v.; 4.a1=4       :sA1,4.4.t Lai ;.-4-4.4-1r-lt .:"49:4.u411
            .                                            LA4 1,-1 !          4194a-4.41                  *Cn-gloal                    11   uv       6.4 _ALof J                        s..

                                                                                                                    t            14 ;.619:4.u.JI*C"-i.t141 CJI:11-441

                                                                                                                                                        61%Y           

                                                                                                                                           4.1-4...q1                  

                                                                                                                            C:21 CJIlibi-121 6Ly                       

                                                                                                                                                                       

                                                                                                                                                                            4:546.2_921 

                                                                      •,13                UL L=.41 I      1:k),Lt       4   .) 1..t=.39 :/64    1411 .6;NAIYZI:(411 . 4 . 46.3         -

                                                                                                               ‘ b                               E.41,_)#11                E-41        -

                                                                                                             V..4:N.4/1 CO) t).2al *Gr.314                                             -

                                                                                                       4-12.61iii .6a - 1:3%-T-16.4i 4211 .611t..1:;•49:a..19                          -

                                              4111141 L14 Lao                      3.449 Zt149.).,=.411 :"4...t=t1                                  :91:16,11 Q to          t.4)       -

                                                                                               -L7'4•14-7-1I L5_9:LgA ‘,71 . 414.11 :;',4_911. :4-411.)43.63                           -

                                                  .J31                             ',4:97).11              Li. -1921:9 4 4,01          7.1tg 0.114/1                                   -



                                                                                                                                                               )4,ml s I.L.**4:1! -
                                                                                                                                                        4:514 aoratli tgAdcd1 

                                                                                                                                                                   ot1 *C"tca tl
,) :1       41t1                u, J19 ./4.      :3%114:4.O9                                                                ‘4                       j.tal                        .1

                      s'44:) 4.7b 1s1S9) j-3..;231                    14:4-,Y1

         4: 4:a /    J*   4 ( b                 *245     V-015 Lill                  3%9 &4-7-3 0 21 3i -‘4:W19
                                                                                                                                  .;%,,.)14.:1 t1           ,-1clu.44111

                                                                :;%31:97,./1 ja.aa              CJI...41111 ,:44.,,.1+4.J1 0 14 1,-lc! J144.1,,,
                                                                                                                                             * I                                  .2

                      0 21 ,-4)..4cal iLLi.14c           axt2014 plc 4 b e-1..+1.4/1                   uuLxoll              4. 1):i        t)11 E-41:1,)41 6:1.13                 .3

                                                                      41N-4. 4*J-4 :3,40)119 v,-..u1-411                                                 4$9:1" 4/ O la




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lµtl ,:(.1.,apj 0 21 :;,:i1     .4.t1       :;y34,4            >61 Y    z:04.6!                        .4

E-41-14 6.4 64 .41.4 cJs 1,54_9 1-LT-g    s6.4 4 /1 4-tt 6.4                      JALa 4:19-49
                                                                        Y+1""14




                                                  3 .09.41 glbII




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